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                       IN THE UNITED STATES DISTRICT COURT
                                DISTRICT OF NEVADA


LYNDA KALEMIS,                           )
RHODALYN VILLA, RANIA DANTE,             )
SABRA LAURSEN, and DOREET                )
HAKMAN,                                  )
                                         )
Individually and on Behalf of Others     )   CASE NUMBER:
Similarly Situated,                      )
                                         )
And                                      )
                                         )   CLASS ACTION COMPLAINT
ADERO FLEMING,                           )
                                         )
Individually,                            )
                                         )
                PLAINTIFFS,              )
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       v.                           )
                                    )
FAIRFIELD RESORTS, INC.,            )
WYNDHAM VACATION RESORTS,           )
INC., and CENDANT CORPORATION, )
INC.,                               )
                                    )
And                                 )
                                    )
WALTER LAXON, KEN ALEXANDER, )
MASON GANGEL, STEVE COEN,           )
ART LOFTIN, GREG LIDDLE,            )
LARRY JOHNSON, PAUL SCIACCA, )
TROY FUBLER, KEN GRAY,              )
PAUL HERMAN,                        )
MARK VAN SYDNER,                    )
DON WOOLBRIGHT,                     )
RICHARD ESCOVEDO,                   )
DEVON BOYD, TONY WALKER,            )
RALPH MADEIROS,                     )
and DEAN OWENS,                     )
                                    )
In Their Individual and Official    )
Capacities,                         )
              DEFENDANTS.           )
____________________________________)

                              CLASS ACTION COMPLAINT

       Class Representatives Lynda Kalemis, Rhodalyn Villa, Rania Dante, Sabra Laursen, and

Doreet Hakman, and individual plaintiff Adero Fleming, by and through undersigned counsel,

file this Complaint against Corporate Defendants Fairfield Resorts, Inc., Wyndham Vacation

Resorts, Inc., and Cendant Corporation (collectively “Fairfield” or “Corporate Defendants”), and

Individual Defendants Walter Laxon, Ken Alexander, Mason Gangel, Steve Coen, Art Loftin,

Greg Liddle, Larry Johnson, Paul Sciacca, Troy Fubler, Ken Gray, Paul Herman, Mark Van

Sydner, Don Woolbright, Richard Escovedo, Devon Boyd, Tony Walker, Ralph Madeiros, and

Dean Owens (collectively the Corporate and Individual Defendants will be referred to as

“Defendants”) stating the following:



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I.     A SUMMARY OF PLAINTIFFS’ SEXUAL HARASSMENT AND GENDER
       DISCRIMINATION SUIT AGAINST DEFENDANTS

       1.      The Class Representatives and Class Members in this sexual harassment, gender

discrimination and hostile work environment lawsuit are current or former female employees of

Fairfield, one of the largest vacation ownership companies in the world.

       2.      Female employees at Fairfield’s Las Vegas, Nevada facility have been and

continue to be subjected to sexual harassment, verbal abuse, physical violence, and gender

discrimination Torquemadian in intensity. As victimized Class Representative Villa explains,

“harassment was a daily thing.”

       3.      Sexual harassment and gender discrimination are deeply engrained in Fairfield’s

corporate culture.   Fairfield Chief Executive Officer and President Franz Hanning (“CEO

Hanning”) has testified in a deposition that Fairfield’s sexual harassment is related to the

individual choices people make and the high energy employees Fairfield attracts. CEO Hanning

further testified that 1,000 witnesses may not be sufficient to corroborate allegations of sexual

harassment. CEO Hanning testified that as many as ten written warnings for sexual harassment

in an employee’s file do not preclude promotional opportunities with Fairfield. Moreover, CEO

Hanning testified that he was unsure if having pornographic material at Fairfield’s facilities is a

violation of company policy.

       4.      The almost all-male managerial staff in Fairfield’s Las Vegas facility formed a

brotherhood of predators who bonded by terrorizing, intimidating, and victimizing female

employees. Their conduct includes, but is not limited to, the following:

               a.     Fairfield’s male employees physically abused female employees at

               Fairfield’s Las Vegas facility. They groped female employees’ buttocks and

               made attempts to grab female employees’ breasts. These assaults were neither



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             rare nor deviant happenstance, but occurred with such regularity that they became

             routine.

             b.     Fairfield’s male managers and other male employees demanded sexual

             favors from female employees and solicited female employees for sex.

             c.     Fairfield male managers and employees would tell female employees, in

             graphic detail, about what they wanted to do to them sexually.         The male

             employees would openly ogle the females’ body parts and objectify them in very

             crude language.

             d.     Female employees of Fairfield who complained about the sexually hostile

             work atmosphere and/or practices of gender discrimination were targeted for

             retaliatory treatment and denials of promotion.

             e.     Female employees were informally told by managers that in order to

             advance in the company, they should wear sexually revealing clothes. Female

             employees witnessed this policy firsthand because if they did not conform to a

             standard of beauty and sex appeal, they were denied the benefits of being

             supervised and taught by experienced managers. This would severely restrict

             their abilities to make money.

             f.     Female employees are held strictly to Fairfield’s company rules, while

             male employees are allowed to take liberal amounts of time off without question.

II.    NATURE OF THIS ACTION

      5.      Lynda Kalemis, Rhodalyn Villa, Rania Dante, Sabra Laursen, Doreet Hakman,

and Adero Fleming bring this action against Corporate Defendants Fairfield Resorts, Inc.,

Wyndham Vacation Resorts, Inc, and Cendant Corporation, and Individual Defendants Walter




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Laxon, Ken Alexander, Mason Gangel, Steve Coen, Art Loftin, Greg Liddle, Larry Johnson,

Paul Sciacca, Troy Fubler, Ken Gray, Paul Herman, Mark Van Sydner, Don Woolbright, Richard

Escovedo, Devon Boyd, Tony Walker, Ralph Madeiros and Dean Owens, under Title VII of the

Act of Congress commonly known as “The Civil Rights Act of 1964,” 42 U.S.C. §§ 2000(e) et

seq., as amended (“Title VII”), Chapter 613 of Nevada Revised Statutes, Equal Opportunities for

Employment, the Family and Medical Leave Act (“FMLA”) and under the common law.

Defendants have engaged in unlawful gender discrimination, sexual harassment, harassment on

the basis of gender and unlawful retaliation, as well as assault, battery, intentional infliction of

emotional distress, negligent and/or wanton supervision, training and retention, negligent and/or

wanton hiring, and pregnancy discrimination. The Class Representatives, all of whom are

present or former Fairfield employees, bring this Class action against Fairfield and other

Corporate and Individual Defendants, on behalf of themselves and all other female employees of

Fairfield, who are similarly situated pursuant to federal law, Nevada law and the common law.

       6.       The Class Representatives seek to represent all of the female employees

described above who have been subjected to one or more aspects of the systemic gender

discrimination described in this Complaint, including, but not limited to: a hostile work

environment resulting from severe and pervasive sexual harassment in the workplace;

discriminatory policies, practices and/or procedures in promotion and advancement; differential

treatment on the basis of gender, and other forms of gender hostility in the workplace. The

systemic gender discrimination and sexual harassment described in this Complaint has been, and

is, continuing in nature.

       7.       The Class Representatives are seeking, on behalf of themselves and the Class

they seek to represent, equitable and legal remedies, including declaratory and injunctive relief;




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back pay; front pay; compensatory, punitive, and nominal damages; an award of attorney’s fees,

costs and expenses; and other incidental monetary and non-monetary remedies necessary to

redress Fairfield’s pervasive and discriminatory work environment, employment policies,

retaliatory practices and/or procedures.

III.   JURISDICTION AND VENUE

       8.      Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§ 1331, 1343(a)(4),

and Title VII. This Court also has supplemental jurisdiction over all state law claims alleged in

this Complaint under 28 U.S.C. § 1367.

       9.      Venue is proper in this Court in the District of Nevada pursuant to 28 U.S.C. §

1391(b) and 42 U.S.C. § 2000e-5(f). The unlawful employment actions alleged herein were

committed by Defendants in the city of Las Vegas, Nevada. Defendants transact business in the

State of Nevada and the events giving rise to this claim occurred in the State of Nevada. Many

Class Representatives currently reside in Las Vegas, Nevada and worked for Defendants in

Nevada. Most of the records pertaining to Class Representatives’ employment are or were

maintained in Nevada.

       10.     Class Representatives request a jury trial on all issues.

IV.    CONDITIONS PRECEDENT TO SUIT UNDER TITLE VII AND NEV. REV.
       STAT. 613.330

       11.      The Class Representatives have fulfilled all conditions precedent to the

institution of this action under the laws of the State of Nevada. Class Representatives Kalemis

and Villa, as well as Plaintiff Fleming, have filed timely charges with the Nevada Equal Rights

Commission (“NERC”). In addition, after her termination from Fairfield on February 8, 2008,

Class Representative Kalemis timely filed her complaint of retaliation with the Equal

Employment Opportunity Commission (“EEOC”). Class Representative Doreet Hakman has



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timely filed her complaint with the EEOC. Class Representatives Dante and Laursen have filed

timely charges with the EEOC and the Nevada Equal Rights Commission, respectively. Both

Dante and Laursen have obtained Notices of Right to Sue and filed suit in federal court within

ninety days of receipt of their Notices of Right to Sue.

V.     PARTIES

       A.      Class Representatives

       12.     Class Representative Lynda Kalemis is a female citizen of the United States

and a resident of Las Vegas in the State of Nevada. Kalemis began her employment with

Fairfield in October 2004 as a Tour Receptionist and was terminated on February 8, 2008.

During her employment with Fairfield, Kalemis was subjected to gender discrimination, sexual

harassment, a hostile work environment and retaliation. Kalemis is a person aggrieved under Title

VII of the Civil Rights Act of 1964, as amended.

       13.      Class Representative Rhodalyn Villa is a female citizen of the United States

and a resident of Las Vegas in the State of Nevada. Villa was hired by Fairfield in May 2006

where she rotated through all departments as an intern for three months. She then worked as a

sales representative for two months and was transferred to Front Desk Reception for her

remaining eight months at Fairfield. During her employment with Fairfield, Villa was subjected

to gender discrimination, sexual harassment, a hostile work environment and retaliation. Villa is

a person aggrieved under Title VII of the Civil Rights Act of 1964, as amended.

       14.     Class Representative Rania Dante is a female citizen of the United States who

resides in Clark County in the State of Nevada. Dante was employed by Defendants as a Front-

Line Sales Representative from approximately May 2001 until May 2003 and then as an In-

House Senior Sales Representative until her constructive discharge in approximately April 2005.

During her employment with Fairfield, Dante was subjected to gender discrimination, sexual


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harassment, a hostile work environment, and retaliation. Dante is a person aggrieved under Title

VII of the Civil Rights Act of 1964, as amended.

       15.     Class Representative Sabra Laursen (formerly Sabra Tuerck) is a female

citizen of the United States who resides in Clark County in the State of Nevada. Laursen began

working at Fairfield’s Las Vegas office on approximately October 5, 2005 and was forced to

resign on August 1, 2006. During her employment with Fairfield, Laursen was subjected to

gender discrimination, sexual harassment, a hostile work environment, retaliation and pregnancy

discrimination. Laursen is a person aggrieved under Title VII of the Civil Rights Act of 1964, as

amended.

       16.     Class Representative Doreet Hakman is a female citizen of the United States

who resides in Clark County in the State of Nevada. Hakman began working at Fairfield’s

Harrah’s Las Vegas facility in the fall of 2002 and was forced to resign on August 20, 2007.

During her employment with Fairfield, Hakman was subjected to gender discrimination, a hostile

work environment and retaliation. Hakman is a person aggrieved under Title VII of the Civil

Rights Act of 1964, as amended.

       B.      Individual Plaintiff

       17.     Plaintiff Adero Fleming is a female citizen of the United States and a resident of

Las Vegas in the State of Nevada. Ms. Fleming was hired by Fairfield in August 2005 as a

Times Share Agent. The following year, she worked as a Discovery Representative in Fairfield’s

Discovery Department and was terminated in January 2007. During her employment with

Fairfield, Fleming was subjected to gender discrimination, sexual harassment, a hostile work

environment, retaliation and wrongful termination in violation of the FMLA. Fleming is a person

aggrieved under Title VII of the Civil Rights Act of 1964, as amended.




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       C.     Defendants

       18.    Defendant Fairfield Resorts, Inc. is a wholly owned subsidiary of Wyndham

Vacation Resorts, Inc. Fairfield Resorts is one of the leading resort and vacation product

companies in the world, specializing in the development, marketing, and sales of innovative

vacation ownership and leisure products. Fairfield Resorts transacts business in the State of

Nevada, has multiple facilities throughout the State of Nevada and has its national corporate

headquarters located at 8427 South Park Circle, Orlando, Florida 32819. Fairfield Resorts is an

employer under Title VII and Nevada Revised Statute 613.310(2).

       19.    Defendant Wyndham Vacation Resorts, Inc. is one of the world’s largest

providers of real estate and travel-related consumer and business services and is the owner of

Fairfield Resorts. Wyndham transacts business in the State of Nevada, has facilities throughout

the State of Nevada and has its national corporate headquarters located in Orlando, Florida.

Wyndham Vacation Resorts, Inc. is an employer under Title VII and Nevada Revised Statute

613.310(2). Wyndham manages, oversees, designs policies for and/or makes decisions for

Fairfield Resorts.   Some of the discriminatory actions described in this Complaint were

authorized, ordered, and/or executed by Wyndham Vacation Resorts, Inc.’s officers, agents,

employees, and/or representatives.

     20.       Defendant Cendant Corporation is the former owner of Wyndham Vacation

Resorts, Inc. and Fairfield Resorts, Inc. In October 2005, Cendant completed its acquisition of

Wyndham Vacation Resorts, Inc. Cendant transacted and/or transacts business in the State of

Nevada, had or has multiple facilities throughout the State of Nevada and its national corporate

headquarters are located in Orlando, Florida. Cendant is an employer under Title VII and

Nevada Revised Statute 613.310(2).




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        21.     Defendant Walter Laxon (“Manager Laxon”) worked for Fairfield from

approximately May 2001 to the present in the capacities of Sales Manager and Senior Manager.

Manager Laxon is sued in his individual and official capacities.

        22.     Defendant Ken Alexander (“DOS Alexander” or “VP Alexander”) worked for

Fairfield from approximately October 2004 to the present in the capacities of Senior Sales

Manager, Director of Sales and Vice President. VP Alexander is sued in his individual and

official capacities.

        23.     Defendant Mason Gangel (“Manager Gangel”) worked for Fairfield from

approximately May 2001 to the present in the capacity of Senior Sales Manager and Front-line

Manager. Manager Gangel is sued in his individual and official capacities.

        24.     Defendant Steve Coen (“VP Coen” or “Senior VP Coen”) worked for Fairfield

from approximately August 2005 to the present in the capacities of Vice President and

Regional/Senior Vice President. Senior VP Coen is sued in his individual and official capacities.

        25.     Defendant Art Loftin (“Manager Loftin”) worked for Fairfield from started 2006

approximately October 2004 to approximately the fall of 2007 in the capacities of Sales Manager

and Sales Representative. Manager Loftin is sued in his individual and official capacities.

        26.     Defendant Greg Liddle (“VP Liddle”) worked for Fairfield from approximately

1999 to approximately the fall of 2007 in the capacity of Vice President. VP Liddle is sued in

his individual and official capacities.

        27.     Defendant Larry Johnson (“Manager Johnson”) worked for Fairfield from

approximately May 2001 to the present in the capacities of Front-line Manager and Senior

Manager. Manager Johnson is sued in his individual and official capacities.




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        28.     Defendant Paul Sciacca (“Sales Representative Sciacca”) worked for Fairfield

from approximately the end of 2004 to the present in the capacity of Sales Representative. Sales

Representative Sciacca is sued in his individual and official capacities.

        29.     Defendant Troy Fubler (“Discovery Representative Fubler”) worked for Fairfield

from approximately October 2004 to approximately the fall of 2007 in the capacity of Discovery

Representative. Discovery Representative Fubler is sued in his individual and official capacities.

        30.     Defendant Ken Gray (“Discovery Representative Gray”) worked for Fairfield

from approximately October 2004 to the present in the capacity of Discovery Representative.

Discovery Representative Gray is sued in his individual and official capacities.

        31.     Defendant Paul Herman (“Discovery Representative Herman”) worked for

Fairfield from approximately August 2005 to the present in the capacity of Discovery

Representative.        Discovery Representative Herman is sued in his individual and official

capacities.

        32.     Defendant Mark Van Sydner (“Sales Representative Van Sydner”) worked for

Fairfield from approximately May 2001 to the present in the capacities of Sales Representative,

Manager, and Vice President. Sales Representative Van Sydner is sued in his individual and

official capacities.

        33.     Defendant Don Woolbright (“Sales Representative Woolbright”) worked for

Fairfield from approximately August 2005 to approximately January 2007 in the capacity of

Sales Representative and Manager. Sales Representative Woolbright is sued in his individual

and official capacities.




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       34.     Defendant Richard Escovedo (“Sales Representative Escovedo”) worked for

Fairfield from approximately at least August 2005 to the present in the capacity of Sales

Representative. Sales Representative Escovedo is sued in his individual and official capacities.

       35.     Defendant Devon Boyd (“Manager Boyd”) worked for Fairfield from

approximately 2001 to the present in the capacities of Referral Front-line Manager, In-house

Manager and Vice President. Manager Boyd is sued in his individual and official capacities.

       36.     Defendant Tony Walker (“VP Walker”) worked for Fairfield from approximately

May 2001 to approximately the summer of 2005 in the capacity of Vice President of in-house.

VP Walker was sued for sexual harassment by a female employee and was fired in 2005. VP

Walker is sued in his individual and official capacities.

       37.     Defendant Ralph Madeiros (“Vice President Madeiros”) worked for Fairfield

from approximately 2002 to approximately 2004 in the capacity of Vice President.              Vice

President Madeiros is sued in his individual and official capacities.

       38.     Defendant Dean Owens (“Senior Manager Owens”) worked for Fairfield from

approximately May 2001 to approximately the end of 2006 in the capacity of Senior Manager.

Senior Manager Owens is sued in his individual and official capacities.

       39.     Defendants are liable for their employees’ unlawful acts and omissions against

Class Representatives and Class members within the course and scope of their employment.

       40.      The wrongful acts and omissions by Defendants’ employees described in this

Complaint were carried out in the course and scope of such employee’s employment and/or in

furtherance of the Defendants’ business.

       41.      Defendants condoned, authorized, and/or ratified such conduct.




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VI.    FACTUAL BACKGROUND

       Class Representatives

       A.     Lynda Kalemis

       42.    Class Representative Lynda Kalemis began working for Fairfield in October

2004. She worked as a receptionist in the Administration Department for over three years before

being terminated on February 8, 2008 in retaliation for filing a Nevada Equal Rights

Commission Charge of Discrimination against Fairfield.

       43.        Throughout her employment with Fairfield, Kalemis has been subjected to and

witnessed a systemic pattern and practice of sexual harassment, gender hostility and gender

discrimination.

       44.        Kalemis’s manager, Samira Huremovic, had told Kalemis on several occasions

that she would make an excellent Front Desk Manager. Despite having worked at Fairfield for

three years, and despite having a college degree, Kalemis was never given an opportunity to

interview for the position. Fairfield selected to interview a 19-year-old male, Alex, for the

position. Alex had no education beyond a high school degree and had only recently started

working at Fairfield; Kalemis was thus more qualified than Alex to assume the position of

Manager of Front Desk. The position was ultimately given to Lakisha Richardson, who had a

close relationship to VP Ken Alexander.

       45.    During 2005 and 2006, Kalemis was subjected to sexual harassment from Sales

Representative Brion Boykins. Boykins would regularly offer her money in exchange for sex,

claiming that spending one night with him would take care of her financially.




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        46.    Sales Representative Boykins was graphic and obscene when speaking to

Kalemis, telling her which sexual positions he liked and which one he wanted to put her in. He

also made grunting noises whenever Kalemis walked by him in the workplace.

        47.      Kalemis handled this harassment by ignoring Sales Representative Boykins or

telling him to leave her alone.    Whenever she rejected his advances, Sales Representative

Boykins would accuse her of not doing her job correctly and would make her work life difficult.

        48.      Kalemis complained to Jennifer Hama from Human Resources (HR) in February

2007.    Kalemis asserted that Sales Representative Boykins’s unwelcome advances and his

retaliatory treatment upon her rejection of these advances were causing her great mental

suffering and distress.

        49.    HR Manager Hama was skeptical of Kalemis’s story, but when Rhodalyn Villa

confirmed Sales Representative Boykins’ behavior, HR initiated an investigation.           Sales

Representative Boykins worked at Fairfield throughout the investigation, but was ultimately fired

in March 2007.

        50.      Kalemis suffered retaliation as a result of the Boykins investigation.      The

investigation was not confidential and it was common knowledge at Fairfield’s Las Vegas

facility that Kalemis and Villa were the two who had complained about Sales Representative

Boykins’s behavior. Friends of Boykins would approach Kalemis and say, “I heard you got

Boykins fired.” Kalemis was shunned at work by fellow male-coworkers and was consistently

treated with disrespect.

        51.    Throughout her employment, Manager Art Loftin similarly solicited Kalemis for

sex. At first, Manager Loftin commented that she should let him know when her boyfriend was

no longer satisfying her needs. Later on in her employment at Fairfield, Manager Loftin insisted




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that Kalemis meet him for a sexual interlude at one of the casino’s pools. Manager Loftin also

expressed his desire for Kalemis by pointing out that he was tiring of his wife.

       52.       In November 2006, Director of Sales Ken Alexander solicited Kalemis for sex.

He told her, “Let me know when you want to be with a real man and not with a little boy.”

       53.       In January 2007, Kalemis was in the ladies’ restroom with co-worker Linda

Duncan. Duncan explained that she overheard male Sales Representatives discussing the female

employees’ bodies. Duncan told Kalemis that she had heard many male employees attest that

they enjoyed Kalemis’s buttocks the best. This made Kalemis uncomfortable and emotionally

distraught.

       54.       In approximately November 2007, Sales Representative Paul Sciacca yelled to

Kalemis on the sales floor that she needed to hit the gym. When Sciacca made this comment in

November 2007, he yelled this in front of other co-workers at Fairfield.

       55.       In approximately February 2007, Sales Representative Sciacca repeated his

comment that Kalemis needed to go to the gym. Sales Manager Walter Laxon then pulled

Kalemis in front of all the males on the sales team and asked them if they thought Kalemis

needed to lose weight. Kalemis complained about this incident to HR and then-VP Ferdi

Montes.       Upon information and belief, no reprimand was given to Paul Sciacca.          The

embarrassment suffered by Kalemis caused her great mental and emotional harm.

       56.       In approximately February 2007, sales manager Walter Laxon made aggressive,

sexually charged comments to Kalemis and stated that he would have sex with her if he were not

married.

       57.       Throughout her employment, Discovery Representative Troy Fubler made

comments about Kalemis’s buttocks nearly every time she walked through the Discovery




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Department. He would shout comments such as, “you can’t hide that butt,” and “be proud of that

butt.” Other men in the Discovery Department would encourage these remarks by laughing

along. Kalemis complained to then VP Ferdi Montes. On information and belief, nothing was

done by Fairfield to investigate this claim of harassment.

       58.      In May 2007, Sales Representative Richard Escovedo told Kalemis that he liked

her bottle-shaped figure.

       59.      On June 15, 2007, Ken, the greeter at Fairfield’s Las Vegas facility, blew kisses

in Kalemis’s ear and told her he would be checking her out. The following day, he smacked her

buttocks and informed her that he would be checking her out from the front and the back.

       60.      On June 19, 2007, Kalemis attended a meeting at a Nevada resort.           Sales

Representative Escovedo later told Kalemis that had he known she would attend the meeting, he

would have secured a hotel room to ensure intimate moments for the two of them.

       61.      On June 23, 2007, Sales Representative Escovedo told Kalemis that she should

get a job “on a pole.”

       62.      On June 25, 2007, Kalemis went to see Dr. Gibson at Green Valley Family

Doctors about the constant anxiety and panic attacks she was having as a result from the

harassment and comments at work. Dr. Gibson prescribed anti-anxiety medication, Busipirone,

which Kalemis takes to this day.

       63.     Kalemis filed a Complaint of Discrimination with the Nevada Equal Rights

Commission (NERC) on September 19, 2007.

       64.     In or about October 2007, Kalemis met with HR Manager Louise LNU and VP

Ferdi Montes. At the meeting, VP Montes and HR Manager Louise LNU asked Kalemis why

she had filed a NERC complaint and to tell them what her real complaint was. Kalemis




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explained her complaint and said that the work environment was causing her anxiety. HR

Manager Louise LNU tried to convince Kalemis to transfer to another site.

        65.      Approximately a week following the October 2007 meeting, Kalemis attended a

follow-up meeting with VP Montes and HR Manager Louise LNU. HR Manager Louise LNU

said that Sales Representative Sciacca denied Kalemis’s allegations.

        66.      HR Manager Hama reiterated the suggestion that Kalemis transfer, saying that the

company was afraid of Kalemis seeking retaliation.

        67.      In January 2008, Kalemis’s manager, Lakisha Richardson, and Administrative

Manager Lisa Lupo began to harass Kalemis at work. Managers Richardson and Lupo falsely

blamed Kalemis some mistakes and violations, such as eating at the front desk. Managers

Richardson and Lupo wrote up Kalemis for the alleged errors, but Kalemis refused to sign the

false reports.

        68.      In January 2008, Manager Richardson also accused Kalemis of falsely calling in

sick and incorrectly denoting referral tours on the tour sheet, an error that was actually made by

other employees. Manager Richardson wrote up Kalemis for these supposed infractions, but

Kalemis refused to sign the false reports.

        69.      On February 8, 2008, Manager Lupo fired Kalemis, in retaliation for her filing a

NERC Charge of Discrimination against Fairfield and for participating in the NERC process.

Manager Lupo said that she would have to let Kalemis go because of her “mistakes”.

        70.      On February 11, 2008, Kalemis received a letter from NERC dated February 4,

2008, outlining Fairfield’s response to her allegations.




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       B.      Rhodalyn Villa

       71.     Class Representative Rhodalyn Villa worked at Fairfield from May 2006 until

July 5, 2007. For her first three months, Villa worked as an intern and rotated through every

department. For the following two months, Villa worked as a Sales Representative on the sales

floor. Villa’s remaining months were spent working in Reception at the Front Desk. Villa was

terminated on July 5, 2007 allegedly as a result of attendance and tardiness issues.

       72.      Throughout Villa’s employment with Fairfield, she was subjected to and

witnessed a systemic and ongoing pattern and practice of sexual harassment, gender hostility and

gender discrimination.

       73.      Villa first encountered discrimination based on gender during her internship

program with Fairfield. Villa noticed that managers gave the male interns many opportunities to

go on rides, but she was never asked.

       74.      Sexual harassment was a daily struggle for Villa.          Males from the Sales

Department would routinely make comments about her breasts and constantly ask her out on

dates. Senior In-House Representative Steven Fast once commented during internship training

that Villa could go far in Fairfield so long as she gave something back in return. Representative

Fast’s comment came on the heels of his remark that he would like to have a “playdate” with

Villa, after which Fast gave Villa his card.

       75.     In October 2006, while Villa worked as a Sales Representative, Senior Vice

President Steve Coen pulled Villa aside from the sales floor to ask which department she would

like to work in. Villa had previously asked to go to the Discovery Department, where she could

earn $48,000 per year plus commission, but Senior VP Coen responded, "With your pretty smile

you would be more valuable in the front." Senior VP Coen said that he would like to move Villa




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to the front desk as training for an Office Manager position. Senior VP Coen said that he

expected Villa to be able to move to an Office Manager position within one year. Villa decided

to accept a front-desk position with pay of $22,000 per year and expected to move into an Office

Manager position within a year, a job with a salary of $65,000 and a relocation bonus of $20,000

(anticipating a transfer to California).

        76.     While walking through the Discovery Department, Villa could hear comments

being made about her buttocks. The manager of the Discovery Department, Richard, was

present during many of those comments and condoned the behavior through his silence.

        77.     On one occasion when Villa wore her hair up, Sales Representative Richard

Escovedo told her, “You look like a sexy librarian. I want to take you down.”

        78.     Director of Sales Ken Alexander (“DOS Alexander”) would also make

inappropriate remarks when Villa removed her jacket, and he would often ask Villa out on dates

during the period when Villa worked as a sales representative and as a tour receptionist at the

front desk.

        79.     Often, at the end of the workday, DOS Alexander would stand in one spot to

comment on Villa’s appearance or on what Villa might be doing after work. As a result, Villa

tried to avoid DOS Alexander’s remarks by taking a different route or by finding a co-worker,

Javin Gooden, to walk out of the building with her.

        80.     The greeter at Fairfield, Ken, frequently tried to give Villa kisses and hugs.

        81.     Sales Representative Kurt Peez would slap Villa’s buttocks and make comments

to her about how much he enjoyed looking at her breasts.

        82.     While working as a Sales Representative in Harrah’s Casino for Fairfield, Villa

was constantly subject to sexual harassment, especially from Senior Sales Representative Brion




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Boykins. Approximately two weeks after Villa began working at Harrah’s, Boykins told her,

“Girls your age don’t want to be wined and dined. I’ll give you money up front if you spend

time with me.” Villa noticed Sales Representative Boykins saying the same kinds of comments

to a new Sales Representative, Tina Smith. Villa complained to her manager, T.A. Bragg, but he

was not responsive and never investigated Villa’s claims of harassment.

       83.     Villa, along with tour receptionist Lynda Kalemis, suffered retaliation as a result

of complaining about the harassment they received from Sales Representative Boykins.

       84.     After HR spoke to Villa about Sales Representative Boykins’s harassment

against her and Kalemis, HR initiated an investigation.

       85.     Before the Boykins investigation, Senior VP Coen promised Ms. Villa that she

would be promoted to the Office Manager position. After Villa complained about top seller

Boykins and the investigation began, Senior VP Coen became non-committal whenever Villa

raised the prospect of her promotion. Sales Representative Boykins avoided interacting with

Villa and even refused to make eye contact.

       86.     Other managers also avoided Villa after the Boykins investigation began. As a

result, Villa’s selling ability was compromised.

       87.     Due to the retaliation Villa faced as a result of her complaints about Boykins, she

was too afraid to make further complaints about anyone else at Fairfield.

       88.     Villa was terminated on July 5, 2007.

       C.      Rania Dante

       89.     Class Representative Rania Dante worked for Fairfield from May 2001 until her

constructive discharge in approximately April 2005. Defendants discriminated against Ms.




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Dante because of her sex, female. Defendants denied Dante equal treatment in the terms and

conditions of her employment, harassed her and eventually constructively discharged her.

       90.     On a continuing basis through approximately April 2005, Defendants denied

Dante equal treatment. Specifically, Defendants did not give Dante equal consideration or

opportunity for advancement within the organization.          Defendants treated younger, less

experienced sales associates preferably with regard to advancement.

       91.     Before Dante joined the defendant companies, Vice President Greg Liddle (“VP

Liddle”) aggressively recruited her for many years to work for Fairfield because she speaks 6

languages and was one of the proven top producers in the vacation timeshare industry, known as

“the three-million-dollar woman.”

       92.     Vice President Liddle promised to triple Dante’s income and give her a senior

sales agent in-house position if she became employed with Defendants. In-house employees are

typically top producers and more experienced sales agents. They work with more qualified and

established owners, unlike front-line employees who primarily work to establish relationships

with new clients. In-house positions are more prestigious, have a higher closing ratio, and earn a

higher base rate of commission than front-line positions, resulting in higher income for in-house

employees.

       93.     On one occasion, Dante’s friend Aubrey Alexander took Dante to a Fairfield

office holiday party at which Dante met Vice President Liddle. Shortly thereafter, VP Liddle

told Alexander that if he had known Dante was “so gorgeous and sexy,” he would have flown to

New York himself because he would like to have Dante work “under him.”

       94.     In approximately May 2001, Dante rejected offers from many other vacation and

resort companies to accept an in-house senior salesperson position at Fairfield. VP Liddle told




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Dante that she would temporarily be hired as a front-line sales associate in order to learn how the

company worked, but would move into an in-house senior salesperson position one month later.

VP Liddle said to Dante that in the in-house position would be triple the income Dante received

as a front-line employee.

       95.     VP Liddle would only be able to supervise Dante if she worked as a front-line

employee.

       96.     In approximately June 2001, after Dante had worked as a front-line salesperson

for approximately one month, VP Liddle refused to move Dante to an in-house position as

promised because she refused to have a sexual relationship with him.

       97.     VP Liddle continually asked Dante to have a sexual relationship with him and

asked her out on dates. He told Dante that he liked to watch his ex-girlfriend, who also worked

at Fairfield, have sex on the office desk with many different men. Dante was in a long-term

relationship at the time and told VP Liddle that she was not interested.

       98.     VP Liddle harassed Dante physically as well as verbally. One day in his office,

VP Liddle tried to kiss Dante, but Dante expressed disinterest. On other occasions, VP Liddle

grabbed Dante’s breasts and buttocks. Because she did not respond favorably to VP Liddle’s

advances, Dante was punished and not moved to an in-house position until May 2003, two years

after beginning her employment at Fairfield.

       99.     Front-line Manager Larry Johnson, who was directly in charge of Dante, also

asked her to have sex with him on several occasions.

       100.    Manager Johnson also made derogatory and sexual remarks about Chireen Ness, a

female co-worker. He said he was keeping her on staff even though she was not selling because

he wanted to “look at her ass and have sex with her.”




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       101.   Mark Van Sydner, a coworker of Dante’s, continually groped her in inappropriate

places, sometimes in front of clients. When Dante complained to Manager Johnson about Van

Sydner’s behavior, Manager Johnson would be dismissive and not reprimand Van Sydner. Van

Sydner has since been promoted to a Vice President position with Fairfield in Hawaii.

       102.   In approximately May 2004, Dante won the companywide “Top In-House

Producer of the Year” award and the President’s Club Legend Award after breaking many sales

records. She brought in over $2,200,000 in seven months, along with $600,000 while working in

front-line sales. The President’s Club Legend Award typically takes over five years to win, but

Dante won it in just two years. She received a handwritten congratulatory letter from the

company’s CEO, Franz Hanning.

       103.   Tony Walker, Dante’s supervisor and Vice President of in-house at Fairfield,

refused to nominate Dante for the industry’s American Resort Development Association

(“ARDA”) awards ceremony, despite her clear performance as the top in-house producer in

2004. When Dante asked Walker why he refused to nominate her for an ARDA award, he said

he was disappointed that Dante would be representing Fairfield.        He said he would have

preferred Fairfield to be represented by a “White, American, WASP-y guy like me, rather than

people like you, an Arab with an accent.” Dante was not even given tickets to attend the awards

ceremony, although other employees did receive them.

       104.   In approximately May 2004, Vice President Walker was speaking on the phone

about an older female applicant. In front of Dante, who was in his office, Vice President Walker

said to the person on the phone, “Why are you sending me this 42-year-old bitch? You know I

want to have my dick sucked by younger girls.”




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       105.    Despite being the top producer and having the best closing ratios, VP Walker and

VP Liddle refused to promote Dante to a senior salesperson position from 2001 until 2004. VP

Walker and VP Liddle did, however, choose to promote less qualified individuals to the more

senior positions.

       106.    Another Fairfield employee, Thomas Felicetty, gave Dante a sworn statement that

he heard Manager Boyd call an African colleague a “jungle bunny.” Felicetty also saw Van

Sydner sexually harass and grope Dante and others on many occasions.

       107.    Dante complained to Human Resources several times as well as to Vice President

Ralph Madeiros, Vice President Tony Walker, and Vice President Travis Barry about the

harassment she suffered at Fairfield, but the Company took no action to stop the harassment.

Vice President Tony Walker was sued by another female employee for sexual harassment and

was eventually fired in 2005. Cecile Maino, director of in-house HR, also covered up for

Dante’s harassers despite receiving many letters from Dante.

       108.    Defendants retaliated against Dante because of Dante’s complaints by refusing

Dante lucrative opportunities in the company and taking profitable referrals from Dante and

giving them to younger, less-qualified employees.         Dante’s in-house commissions fell

dramatically, from $30,000-$60,000 per month to about $200 per month at the time of her

termination.

       109.    In approximately March 2005, Dante requested and later received leave according

to the Family Medical Leave Act due to a fractured vertebra.

       110.    Dante was constructively discharged in approximately April 2005.




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       D.      Sabra Laursen

       111.    Class Representative Sabra Laursen (“Laursen”) was hired by Defendants at

Fairfield’s Las Vegas facility on or about October 5, 2005. Her last position of record was Sales

Manager. Laursen previously worked for Fairfield Resorts properties in other locations for

approximately eight years prior to being hired in Las Vegas.

       112.    At all times during her employment, Laursen performed her job satisfactorily and

was a top producer.

       113.    In or about December 2005, Laursen called the hotline made available for

employee complaints by Defendant Cendant Corporation to complain that she was subject to

abusive treatment by a male manager at Fairfield. Laursen was concerned for her safety. No

action was taken regarding her complaint and the coworker was permitted to interfere with her

position ever since she reported the threat.

       114.    On approximately January 21, 2006, Laursen revealed to her supervisors that she

was pregnant and applied for family leave. It was soon discovered that Laursen was carrying

twins and Laursen developed complications during the early stages of her pregnancy.

       115.    Because Laursen’s position as a sales manager required her to supervise a team of

sales personnel and often to work twelve to thirteen hours a day, most of the time standing or

walking, Laursen requested on several occasions to go home early due to problems with her

pregnancy. On each occasion, Laursen was criticized for not being able to do her job, or her

request was denied. On information and belief, male employees’ requests for time off based on

less compelling reasons were routinely granted and not subjected to criticism.

       116.    On or about February 15, 2006, in front of other managers, including Managers

Walter Laxon, Mason Gangel, Dean Owens, and Vice Presidents Patti Coen, Frank Drozd, Art




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Loftin, and Rick Zipp, Senior Vice President Coen told Laursen that if she could not handle the

job while she was pregnant, she should step down; otherwise, he would exercise his authority

and make Laursen step down.

       117.    Other senior managers continued to pressure Laursen to work the long hours that

she previously worked, compromised her medical privacy, and humiliated her in front of other

managers and employees.       Other senior managers also falsely represented to upper level

management at Fairfield that Laursen was taking a excessive amount of time off and that

Laursen was not performing competently.

       118.    On the day that Laursen went through a painful surgical procedure and learned

that one of her twins had not survived, she told her supervisor, Senior Manager Dean Owens

about the situation and asked to go home after eight hours of work. Senior Manager Owens told

her that she had to stay. Laursen worked thirteen hours that day.

       119.    In early March 2006, Laursen was informed that she had lost the second twin. In

her absence over the next few days, Senior VP Coen assigned Laursen’s sales team to Michael

Alvarez, who had less seniority than Laursen as a sales manager. Laursen learned that VP Coen

told her team that he did not want them to “suffer” any longer and that he was not sure Laursen

was coming back. Laursen alleges that Alvarez was given the advantages of additional staff and

assistance that were denied to her and also generally denied to other women managers. Laursen

also alleges that Alvarez was given lucrative tours, an advantage denied to Laursen.

       120.    Upon Laursen’s return to work, Defendant’s harassment escalated to the point

where she was called into Senior VP Coen’s office in the presence of Defendant Fairfield

Resort’s Human Resources Director. Senior VP Coen yelled at Laursen and threatened her,

physically and verbally, and made repeated attempts to provoke her into resigning.




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       121.    Laursen alleges that women have been treated less favorably than men by

Defendants in terms of opportunities to succeed and adherence to company rules within a hostile

work environment. Female sales staff members have been regularly denied the benefits of being

supervised and taught by experienced managers, as well as the more productive sales employees

on their sales teams, all of which restrict their abilities to make money. In addition, women are

held strictly to the companies’ rules, while males are allowed, for example, to take liberal time

off without question. Furthermore, Defendants have a history of demeaning treatment of women

employees to the point that a hostile work environment has long existed and is unabated.

       122.    On or about March 7, 2006, Laursen told Defendant Fairfield Resorts Senior Vice

President Coen that she believed that she was being discriminated against on account of her

pregnancy, reporting that Owens had refused to let her go home early on the day that she

miscarried her first twin and described above. Senior VP Coen took no action to address her

complaints, but instead escalated the discriminatory and harassing treatment toward Laursen.

       123.    On or about August 1, 2006, Laursen was forced to resign because she was

neither given the staff nor assistance to make enough money on the job to survive despite her

repeated requests.

       124.    On July 24, 2006, Laursen filed an administrative charge of discrimination with

the Nevada Equal Rights Commission (NERC), and on approximately December 30, 2006, she

received a Right to Sue letter from NERC.

       E.      Doreet Hakman

       125.    Class Representative Doreet Hakman worked in Fairfield’s Harrah’s Las Vegas

facility from the fall of 2002 until August 20, 2007 as a Sales Representative. From 2006 to June




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2007, Hakman was placed on the Referral line and the Top Producer/Owner Customer Service

line.

        126.   Throughout Hakman’s time at Fairfield, she was subjected to and witnessed a

systemic and ongoing pattern and practice of sexual harassment, gender hostility and gender

discrimination.

        127.   In late 2005, Hakman was qualified to be chosen for the Elite Team based on her

successful tenure. The Elite Team, invented by Fairfield VP Steve Coen, included about ten

people and had its own meeting room and was assigned its own tours. Every day, one member

of the Elite Team would do a sales presentation, and all Elite Team members would share in any

commissions resulting from that presentation.        Elite Team members received higher, more

certain earnings as a result. Several relatively new and inexperienced sales representatives were

placed on the Elite Team, but Hakman was not.

        128.   After being passed over for the Elite Team, Hakman decided to seek a new job

and met with Director of Sales Richard Weiscerzack (“DOS Weiscerzack”) upon receiving an

offer outside of Fairfield. DOS Weiscerzack told Hakman that she could earn a spot on the Elite

Team by selling over $100,000 the next month. Upon information and belief, Hakman was the

only sales representative qualified for the team who was told to earn her place. Hakman decided

to remain at Fairfield and attempt to qualify for the Elite Team.

        129.   After selling over $100,000 the next month, Hakman attended Elite Team

meetings.

        130.   At one of those meetings, VP Coen, HR Director Don Winston and DOS

Weiscerzack were also present. At this meeting, Hakman was harassed by her coworkers, who

claimed Hakman’s presence was hurting their performance (despite the fact that Hakman’s sales




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numbers were higher than those of the complaining employees). Hakman left the Elite Team

meeting in tears.

       131.    VP Coen subsequently announced that Hakman was no longer on the Elite Team

because she cried and excused herself from the meeting. Hakman filed a complaint with HR

after VP Coen told Hakman that she was no longer on the Elite Team, but VP Coen told her to

retract the complaint.

       132.    After being removed from the Elite Team, Hakman requested a transfer to

Fairfield’s Grand Desert Resort in Las Vegas. HR Director Winston offered Hakman a transfer

to Trendwest instead, which she refused because she wanted to stay within Fairfield.

       133.    After being removed from the Elite Team, Hakman also asked VP Coen if she

could obtain a Podium Presenter position. This position was considered desirable because

Podium Presenters presented to entire groups of potential buyers and received 3% commission

for each buyer, which was equivalent to the commission received by the representative on each

actual sale. VP Coen told Hakman that no such positions were available, but that he would let

her know if one became available.

       134.    On two separate occasions, Hakman found out about Podium Presenter auditions

at Fairfield’s Grand Desert Resort in Las Vegas (run by Patty Coen, wife of VP Coen) on her

own; VP Coen did not inform her of the openings as he had promised. Hakman auditioned for

the positions, but was rejected in favor of less experienced male applicants; in one case, the

chosen applicant was not even in the Sales Department. Additionally, in 2007, Hakman learned

that a Podium Presenter position at Harrah’s had been given to a male Sales Representative

without an audition being held.




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       135.   Hakman began asking for promotion to a manager position in early 2006. DOS

Weiscerzack agreed that Hakman was a good candidate for promotion. DOS Weiscerzack

transferred to another resort two months later, so Hakman approached VP Coen around April

2006. VP Coen laughed at her request.

       136.   On July 9, 2006, Hakman returned to work after two scheduled days off and

found out that VP Coen had fired her.

       137.   Hakman reported her firing to HR Director Don Winston, who had not been told

that Hakman had been fired. HR Director Winston agreed to investigate.

       138.   On July 10, 2006, HR called Hakman to say there had been a mistake and that she

should attend a meeting on July 11, 2006. At the meeting with VP Coen and HR representatives,

VP Coen apologized, saying that he now knew that he should not have fired her. VP Coen asked

how he could make amends, so Hakman asked for a manager position. VP Coen agreed and said

that he would mentor Hakman himself, asking her “can you stand the heat?”

       139.   A week passed with no word from VP Coen about training. Hakman asked HR

Representative Watson to look into this matter. HR Representative Watson responded with a

letter from VP Coen stating that Hakman was not yet qualified for a manager position and giving

her a list of qualifications that she would need to obtain. Upon information and belief, Hakman

was the only manager candidate given such a list.

       140.   In mid-2007, Manager Meyers took Hakman off of the Referral line and the Top

Producer/Owner Customer Service line, which was a demotion. Hakman received inferior tours

and no assistance toward a promotion.

       141.   Following these problems with Manager Meyers and VP Coen, Hakman asked

HR to be relocated because she could not tolerate working with VP Coen anymore, and even




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interviewed for a job at the Fairfield Grand Desert Resort in June 2007. VP Coen denied

Hakman’s transfer request, and the Grand Desert Resort rejected Hakman despite the

endorsement of the Grand Desert’s Director of Sales. Hakman was instead transferred to

Fairfield Manager Walter Laxon’s team.

       142.    At the end of July 2007, Hakman finally managed to relocate to the front-line

division at Fairfield’s Grand Desert Resort. However, by this time, VP Coen was in charge of

the resort as well as Harrah’s. Hakman continued to receive inferior tours and left Fairfield on

August 20, 2007 as a result.

       Individual Plaintiff

       F.      Adero Fleming

       143.    Class Representative Adero Fleming worked in Fairfield’s Las Vegas facility

from September of 2005 until January 2007. She worked first as a Time Share sales agent and

then as a Discovery representative.

       144.    Throughout her employment with Fairfield, Fleming was subjected to and

witnessed a systemic and ongoing pattern and practice of sexual harassment, gender hostility and

gender discrimination.

       145.    Dean Owens, Fleming’s manager in her first six months at Fairfield,

recommended that Fleming contact a top selling representative, “Spoon,” who worked for

Fairfield at the Grand Desert/Fairfield Sales Center in Las Vegas. Fleming contacted Spoon and

met with him at a restaurant in Las Vegas. At the meeting, Spoon recommended that Fleming

work for Spoon and his escort service at night in order to supplement her income. Fleming told

Spoon she was not interested.




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       146.    Sales Representative Brion Boykins was a constant source of sexual harassment

for Fleming. They had started their training at Fairfield together, but once Sales Representative

Boykins began making big sales, he would tell Fleming, “If we get together a couple of nights a

week, I can help you out financially. I can give you another kind of training.”

       147.    Time passed and Fleming had still not made a sale. Sales Representative Boykins

again propositioned her—this time requesting that she become his housekeeper.

       148.    Sales Representative Boykins also verbally reduced Fleming to the level of a

stripper. Sales Representative Boykins told her one day that he was going to a strip-club that

evening, but that he would prefer to put the cash in her pocket rather in the strippers’. Fleming

objected to his sexual advances, but Sales Representative Boykins persisted.               Sales

Representative Boykins said that he would make Fleming a couple of hundred dollars if she

would kiss him.

       149.    Fleming never went to complain at Human Resources because she noticed that

action was never taken against the high-selling representatives for misdeeds. Because Sales

Representative Boykins was a top seller for the company, Fleming knew that her complaints

would be ignored and that it behooved her to keep silent about Sales Representative Boykins.

       150.    Fleming witnessed Sales Representative Boykins talking about women who were

voluptuous and frequently made loud comments about other women’s buttocks.                 Many

employees and managers overheard these comments.

       151.    Sales Representative Boykins told Fleming that he used to be a pimp in Indiana.

After making insinuating comments to Fleming about how he used to convince girls to become

his prostitutes, Fleming asked, “Are you trying to pimp me?” Sales Representative Boykins

responded that money and sex go hand in hand.




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        152.    Fleming knew that Fairfield’s sexual harassment policy was meaningless because

she often witnessed upper management violating the policy. For example, Fleming often heard

Senior Manager Walter Laxon describing his lust for sales representative Jody Kojima. Manager

Laxon said at one point, “If I were just 20 years younger, I would drop everything to have sex

with her.” Fleming heard such comments regularly during her tenure at Fairfield.

        153.    Another Senior Manager, Mason Gangel, would laugh and encourage Laxon’s

comments. On one occasion, Fleming heard Manager Laxon beckon Manager Gangel to check

out Jody Kojima. Kojima was wearing a low-cut top and had one leg on the chair and one leg

off. Gesturing to Kojima, Manager Laxon said, “Now that is a sight to see!” Manager Gangel

responded, “I just love coming in to work on days like this.” The men knew that Fleming and

other female representatives could hear this conversation because female representatives were

standing nearby.

        154.    The only occasions on which the male senior managers would conform to the

sexual harassment policy was when the female Senior Vice President, Rita Bruegger, made an

appearance at the facility.

        155.    Fleming recalls that during continual training, male sales representatives would

comment about how women could use their “other attributes” to make sales. On one occasion,

Vice President Steve Coen agreed and instructed the female sales representatives to “use your

assets to the best of your abilities.”

        156.    The Fairfield facility in Las Vegas engages in gender discrimination because

women are only given advancement opportunities when they dress in a sexually provocative

way. Fleming became aware of the importance for women to dress scantily when she saw the

care and attention Jody Kojima and Diana Hamilton were receiving on their sales. Kojima and




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Hamilton wore very form-fitting clothing, and it paid off. Fleming would hear managers say,

“Damn, did you see Diana [Hamilton] today? Damn that girl has an ass! I want to tap that!”

Fleming noticed that managers would attend carefully to Hamilton’s table and help her close.

       157.    In order for a sales agent to close a sale, a manager needed to physically come

over to the representative’s table. Fleming began to notice that if a female sales representative

was not sexually provocative, this was unlikely to happen. Fleming realized that dressing

professionally was not going to help her advance at Fairfield. Therefore, Fleming decided to

wear a low-cut summer dress with black heels one day. Manager Art Loftin noticed her and

closed a big sale for her. Manager Loftin had never before closed a deal for Fleming. After the

sale was closed, Manager Loftin commented to Fleming, “Maybe you better start wearing more

revealing dresses to get more sales.”

       158.    During her tenure at Fairfield, Fleming only witnessed one manager, Sabra

Laursen, chastise an employee for demeaning women. This was during a training module that

Laursen was conducting. A male employee said, “I like it when you ladies turn over your tables.

It’s kind of exciting.”    Laursen became angered and explained that such comments were

unacceptable. Fleming had never heard any other manager support the sexual harassment policy.

       159.    Fellow     Sales   Representative    Don   Woolbright   articulated   the   gender

discrimination rampant at Fairfield on one occasion while he was hitting on Fleming. Sales

Representative Woolbright explained that managers didn’t think the female sales representatives

had anything to offer.

       160.    Sales Representative Woolbright told Fleming that she was wasting her time

working at Fairfield and that she should be pursuing acting and modeling instead.           Sales

Representative Woolbright then started to make sexual advances, but Fleming refused.




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       161.    A fellow sales representative, Chris, who was recruiting from Westgate out of

Florida, asked Fleming to give him oral sex in the break room at Fairfield. Chris Hawkins,

another sales representative, was present. Fleming was appalled and asked him if he even

attended the sexual harassment training. Chris’s response was that there is training on the one

hand, but there is what’s really going on, on the other hand.

       162.    During her stint in Fairfield’s Discovery Department, Fleming was subjected to

relentless sexual harassment. On a daily basis, Fleming and the other women who worked in

Discovery were at the mercy of Discovery Representatives Ken Gray, Paul Herman, and Troy

Fubler. These three individuals would constantly make comments to Fleming about her looks

and drop things in order to ask her to pick them up so that they could see Fleming from behind.

       163.    One day Fleming wore red to work, and Discovery Representative Ken Gray said,

“You look ready for Christmas. Why don’t you sit on Santa’s lap [gesturing to his lap] and tell

him what you want for Christmas?”

       164.    Whenever Fleming would walk by, the Discovery representatives would holler at

her about her body.     At one point, when Fleming took off her sweater, she heard male

representatives yell, “Look what rolled in today!”

       165.    As time progressed in the Discovery Department, the harassment that surrounded

Fleming got worse.

       166.    Fleming also noted that the men in Discovery would harass Lynda Kalemis on a

constant basis. When at one point Kalemis bent over, Discovery Representative Fubler said

loudly, “Mmm, I like what I see!” On another occasion, Kalemis wore black pants to work.

Discovery Representative Gray told her, “No matter what you do, you can’t hide that ass!”




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       167.    Discovery Representatives Herman and Fubler would also make comments about

Jody Kojima’s chest.

       168.    Fleming witnessed a great deal of pregnancy discrimination. Sabra Laursen was a

manager, but when she became pregnant, much of her sales team was transferred to another

manager. After her miscarriage, Laursen returned to work to find her team severely reduced.

       169.    In the fall of 2006, Fleming often requested to go home early for both health-

related reasons and to check on her mother. Discovery Department Manager Richard Rebollah

consistently denied her requests. During the same period, Discovery Representative Troy Fubler

often came to work inebriated was not reprimanded, and Discovery Representative Ken Gray

was often given permission to work half-days, a tactic he used to leave work after making a deal.

When Fleming confronted Manager Rebollah about Sales Representative Gray’s behavior,

Manager Rebollah told Fleming that he would more strictly adhere to the rules. However,

Manager Rebollah did not follow through.

       170.    Fleming then requested FMLA leave, on Manager Rebollah’s recommendation.

However, when Fleming went to Manager Rebollah for his signature, he criticized her for

asking. Manager Rebollah told Fleming that if he had known that Fleming would have these

issues, he would never have let her come into his department. Fleming told him that she could

not have known that she would need surgery or that her mother’s home would be broken into.

       171.    Fleming did eventually obtain 12 weeks of FMLA leave and was expected to

return to work on January 11, 2007.

       172.    On January 11, 2007, Fleming was in the hospital under sedation. She was thus

unable to call in and then could not return to work that week.




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       173.   On approximately January 17, 2007, Fleming was told that she had been

terminated from her employment at Fairfield Resorts. She spoke with HR manager Jennifer

Hama, who said that since Fleming had not returned to work on January 11, 2007, she had been

terminated for job abandonment.

       174.   After discussions with the corporate office, Fleming’s termination became

nominally an administrative termination.       Fleming did not receive the benefits of an

administrative termination, including the ability to reapply and get rehired for a job within six

months.

VII.   CLASS ACTION ALLEGATIONS

       A.     Class Definition

       175.    The Class Representatives seek to maintain claims on their own behalf and on

behalf of a Class of current and former Fairfield employees. Each of the Class Representatives is

a member of the Class.

       176.   The Class consists of all females who are, or have been, employed by Fairfield at

any time during the applicable liability period. All of the Class Representatives are proposed

representatives of the Class. Upon information and belief, there are hundreds, if not thousands,

of members of the proposed Class.

       B.     Efficiency of Class Prosecution of Common Claims

       177.   Certification of a Class of female employees similarly situated to the Class

Representatives is the most efficient means of resolving the questions of law and fact which are

common to the claims of the Class Representatives and the proposed Class. The individual

claims of the Class Representatives require resolution of the common question of whether

Fairfield has engaged in a systemic pattern and/or practice of gender discrimination and sexual




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harassment against female employees. The Class Representatives seek remedies for the

following reasons: to eliminate the adverse effects of such treatment in their own lives, careers,

and working conditions; to eliminate the adverse effects in the lives, careers, and working

conditions of the proposed Class members; and to prevent continued gender discrimination and

sexual harassment in the future. The Class Representatives have standing to seek such relief

because of the adverse effect that Fairfield’s conduct has had on them individually and on

females generally. In order to gain such relief for themselves, as well as for the Class members,

the Class Representatives will first establish the existence of systemic gender discrimination and

sexual harassment as the premise for the relief they seek. Without Class certification, the same

evidence and issues would be subject to re-litigation in a multitude of individual lawsuits with an

attendant risk of inconsistent adjudications and conflicting obligations. Certification of the

proposed Class of females who have been affected by these common questions of law and fact is

the most efficient and judicious means of presenting the evidence and arguments necessary to

resolve such questions for the Class Representatives, the proposed Class, and Fairfield.

       178.    The Class Representatives’ Class claims are premised upon the traditional

bifurcated method of proof and trial for disparate impact and systemic disparate treatment of

claims of the type at issue in this case. Such a bifurcated method of proof and trial is the most

efficient method for resolving such common issues.

       C.      Numerosity and Impracticability of Joinder

       179.    The Class which the Class Representatives seek to represent is too numerous to

make joinder practicable. The proposed Class consists of hundreds, if not thousands, of current

and future female employees in Las Vegas, Nevada, during the liability period.




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       D.     Common Questions of Law and Fact

       180.   The prosecution of the claims of the Class Representatives will require the

adjudication of numerous questions of law and fact common to both their individual claims and

those of the putative Class they seek to represent. The common questions of law include, inter

alia: (a) whether Fairfield has engaged in unlawful, systemic sexual harassment; (b) whether

Fairfield has engaged in unlawful, systemic gender discrimination in its pay, promotion,

advancement, compensation policies, practices, and/or procedures, and in the general terms and

conditions of work and employment; (c) whether Fairfield is liable for a continuing systemic

violation; and (d) a determination of the proper standards for proving a pattern or practice of

gender discrimination and sexual harassment by Fairfield against its female employees. The

common questions of fact would include, inter alia, whether, through its policies, practices, and

procedure:

              a.      Fairfield has subjected females to sexual harassment, including but not

       limited to inappropriate and unwelcome touching, sexual comments about female

       employees’ bodies, and unwelcome sexual propositions;

              b.      Fairfield has subjected females to other forms of gender hostility and a

       sexually hostile work environment;

              c.      Fairfield has engaged in a pattern and practice of failing to take prompt

       and effective action to remedy the hostile work environment based on gender;

              d.      Fairfield has maintained policies and procedures that condone sexually

       harassing behavior towards female employees and gender hostility in the workplace; or

       alternatively, maintained policies and procedures which do not adequately prevent

       sexually harassing behavior and gender hostility, and thus allow for their continued




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       existence; or alternatively, maintained policies and procedures that may prohibit sexual

       harassment and gender hostility, but that have not been applied properly, have not been

       understood by managers and employees and/or have been interpreted in a subjective and

       inconsistent manner, and thus have adversely affected female employees;

              e.      Fairfield has maintained a hostile work environment based on gender;

              f.      Fairfield has denied or delayed promotions and promotional opportunities

       for females; and

              g.      Fairfield has subjected females to differential and inequitable treatment,

       including but not limited to less preferable and less profitable work assignments.

       181.    The employment policies, practices, and/or procedures to which the Class

Representatives and the Class members are subjected are set at Fairfield’s corporate level and

apply universally to all Class members.

       182.    Throughout the liability period, a disproportionately large percentage of the

managers and supervisors at Fairfield have been male.

       183.    Gender discrimination in selection, promotion, and advancement occurs as a

pattern and practice throughout all levels and all divisions of Fairfield. Selection, promotion,

and advancement opportunities are driven by personal familiarity, subjective decision-making,

pre-selection, and interaction between male managers, supervisors, and subordinates, rather than

by merit or equality of opportunity. As a result, male employees have advanced and continue to

advance more rapidly to better and higher paying jobs than do female employees.

       184.   Fairfield’s policies, practices, and/or procedures have had an adverse impact on

females seeking selection for, or advancement to, better and higher paying positions. In general,




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the higher the level of the job classification, the lower the percentage of female employees

holding it.

        185.   Fairfield’s female employees have also received differential treatment which

discourages them from seeking professional advancement. For example, male managers have

propositioned female employees for sexual favors in exchange for career advancement, insulted

the intelligence and destroyed the self-esteem of female employees, required female employees

to perform degrading work not included in their job descriptions, and made it clear in various

other ways that they prefer male employees.

        186.   Additionally, sexual harassment occurs as a pattern and practice throughout all

levels and all divisions at Fairfield. Female employees are routinely subjected to inappropriate

sexual comments, uncomfortable touching, hugging and kissing, unwelcome sexual advances

and other forms of sexual harassment.         Sexual harassment is routinely practiced by male

managers toward female subordinate employees.

        187.   Numerous female employees at Fairfield have repeatedly complained about the

sexual harassment. Although Brion Boykins was terminated as a result of several complaints

and investigations, Fairfield’s management and HR employees have taken insufficient action to

punish the conduct described herein and to establish a respectful environment.          In only

addressing one sexual predator, Boykins, HR Management has failed to remedy the pervasive

sexual harassment occurring at Fairfield’s Las Vegas facility.

        188.   Fairfield’s policies and procedures condone sexual harassment and/or do not

adequately prevent sexual harassment.




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         E.     Typicality of Claims and Relief Sought

         189.   The claims of the Class Representatives are typical of the claims of the Class.

The Class Representatives assert claims in each of the categories of claims they asserted on

behalf of the Class. The relief sought by the Class Representatives for the sexual harassment and

gender discrimination complained of herein is also typical of the relief sought on behalf of the

Class.

         190.   The Class Representatives are, like all the members of the Class, all female

employees who have worked for Fairfield during the liability period.

         191.   The sexually hostile work environment at Fairfield and Fairfield’s discrimination

in promotion, advancement and training affects the Class Representatives and all the employee

Class members in the same manner.

         192.   Differential treatment between male and female employees occurs as a pattern

and practice throughout all levels and departments of Fairfield. Male employees are treated

more favorably than female employees, routinely receive more profitable work assignments than

female employees, and thus enjoy a greater earning potential than their female counterparts and

receive other forms of preferential treatment.

         193.   Sexual harassment occurs as a pattern and practice throughout all levels and

departments of Fairfield and affects the Class Representatives and the members of the Class in

the same manner. Male managers and employees regularly hold sexually explicit conversations,

make sexually hostile jokes and remarks, comment on female employees’ bodies, harass and

intimidate female employees, inappropriately touch, hug, and kiss female employees, make

unwelcome sexual advances on female employees, demand sexual favors from female employees

in exchange for professional advancement, and practice other forms of sexual harassment.




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        194.   Several of the Class Representatives, and numerous other female employees, have

repeatedly complained to Fairfield’s management and HR about gender discrimination and a

sexually hostile work environment. Company investigations into these complaints have been

inadequate and/or superficial. The Class Representatives and Class members have been affected

in the same ways by Fairfield’s failure to implement adequate procedures to detect, monitor, and

correct this pattern and practice of discrimination.

        195.   Despite ample evidence and knowledge about Fairfield’s rampant gender

discrimination and sexual harassment held by not only HR personnel but also among high-level

corporate executives, Fairfield has failed to create adequate incentives for, and oversight over, its

managers to comply with equal employment opportunity laws regarding each of the employment

policies, practices, and/or procedures referenced in this Complaint. Fairfield has also failed to

adequately discipline its managers and other employees when they violate the anti-discrimination

laws. These failures have affected the Class Representatives and the Class members in the same

ways.

        196.   The relief necessary to remedy the claims of the Class Representatives is exactly

the same as that necessary to remedy the claims of the proposed Class members in this case. The

Class Representatives seek the following relief for their individual claims and for those of the

members of the proposed Class: (a) a declaratory judgment that Fairfield has engaged in

systemic gender discrimination against female employees by subjecting them to severe sexual

harassment and gender hostility at work, limiting their ability to be promoted to better and higher

paying positions, and exposing them to differential and inequitable treatment; (b) a permanent

injunction against such continuing discriminatory and harassing conduct; (c) injunctive relief

which effects a restructuring of Fairfield’s promotion, training, selection, compensation, work




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environment and discipline policies and/or procedures so that females will be able to compete

fairly in the future for promotions, transfers, and assignments to better and higher paying

classifications with terms and conditions of employment traditionally enjoyed by male

employees; (d) injunctive relief which effects a restructuring of Fairfield’s policy and practice so

that male employees who sexually harass female employees and/or create gender hostility in the

workplace are granted zero tolerance; (e) injunctive relief which effects a restructuring of the

Fairfield workforce so that females are promoted into higher and better paying classifications

which they would have held in the absence of Fairfield’s past gender discrimination; (f) back

pay, front pay, and other equitable remedies necessary to make the female employees whole

from the Fairfield’s past discrimination and harassment; (g) compensatory damages; (h) punitive

and nominal damages to prevent and deter Fairfield from engaging in similar discriminatory

practices in the future; and (i) attorneys’ fees, costs, and expenses associated with this litigation.

       F.      Adequacy of Representation

       197.    The Class Representatives’ interests are co-extensive with those of the members

of the proposed Class which they seek to represent in this case. The Class Representatives seek

to remedy Fairfield’s discriminatory employment policies, practices, and/or procedures so that

females will no longer be prevented from advancing into higher paying and more desirable

positions, will not receive disparate pay and differential treatment, and will not be subjected to

sexual harassment and gender hostility at work. The Class Representatives are willing and able

to represent the proposed Class fairly and vigorously as they pursue their similar individual

claims in this action.     The Class Representatives have trained counsel who are qualified,

experienced, and able to conduct this litigation and to meet the time and fiscal demands required

to litigate an employment discrimination Class action of this size and complexity. The combined




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interests, experience and resources of the Class Representatives and their counsel to litigate

competently the individual and Class claims at issue in this case clearly satisfy the adequacy of

the representation requirement of Fed. R. Civ. P. 23(a)(4) and Nev. R. Civ. P. 23(a)(4).

       G.      Requirements of Fed. R. Civ. P. 23(b)(2) and Nev. R. Civ. P. 23(b)(2)

       198.    Fairfield has acted on grounds generally applicable to the Class Representatives

and the proposed Class by adopting and following systemic policies, practices, and/or procedures

which are discriminatory on the basis of gender. Sexual harassment and gender discrimination

are Fairfield’s standard operating procedures rather than sporadic occurrences. Fairfield has

refused to act on grounds generally applicable to the Class by, inter alia: (a) refusing to provide a

working environment that is free of sexual harassment and gender hostility; (b) refusing to

implement policies that adequately address and remedy female employees’ complaints of sexual

harassment and gender hostility; (c) refusing to provide sufficient enforcement to prevent male

employees from sexually harassing female employees; (e) refusing to adopt and apply pay,

promotion, advancement, and compensation policies, practices, and/or procedures which do not

have a disparate impact on, or otherwise systemically discriminate against, females; and (f)

refusing to provide equal terms and conditions of employment for females. Fairfield’s systemic

discrimination and refusal to act on grounds that are not discriminatory make appropriate the

requested final injunctive and declaratory relief with respect to the Class as a whole.

       199.    Injunctive and declaratory relief are the predominant forms of relief sought in this

case because those forms are the culmination of the proof of Fairfield’s individual and Class-

wide liability at the end of Stage I of a bifurcated trial and the essential predicate for the Class

Representatives’ and Class members’ entitlement to monetary and non-monetary remedies at

Stage II of such trial. Declaratory and injunctive relief flow directly and automatically from




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proof of the common questions of law and fact regarding the existence of systemic sexual

harassment and gender discrimination of female employees at Fairfield. Such relief is the factual

and legal predicate for the Class Representatives’ and the Class members’ entitlement to

monetary and non-monetary remedies for individual losses caused by such systemic

discrimination and harassment.

       H.        Requirements for Fed. R. Civ. P. 23(b)(3) and Nev. R. Civ. P. 23(b)(3)

       200.      The common issues of fact and law affecting the claims of the Class

Representatives and Class members, including but not limited to the common issues identified

above, predominate over any issues affecting only individual claims.

       201.      A class action is superior to other available means for the fair and efficient

adjudication of the claims of the Class Representatives and Class members.

       202.      The cost of proving Fairfield’s pattern and practice of discrimination makes it

impracticable for the Class Representatives and members of the proposed Class to control the

prosecution of their claims individually.

VIII. CLASS ALLEGATIONS

       203.      The Class Representatives and Class members have been subjected to a systemic

pattern and practice of sexual harassment and gender discrimination involving a battery of

practices that have had an unlawful disparate impact on them and their employment

opportunities.

       204.      The sexual harassment to which female Fairfield employees are subjected occurs

on a regular basis and is practiced by male managers and employees at all levels. This

harassment includes, but is not limited to, explicit sexual conversations, sexually hostile jokes

and remarks, inappropriate sexual comments about female employees’ bodies, sexual




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intimidation of female employees, inappropriate touching, hugging and kissing, and unwelcome

sexual advances and propositions.

       205.    Fairfield condones sexual harassment by refusing or failing to take adequate

action against male employees who have sexually harassed female employees and by failing to

adequately respond to numerous complaints from female employees regarding the sexual

harassment they have experienced. Management in Fairfield’s Las Vegas facility, HR, and high-

level corporate executives in Fairfield’s corporate headquarters in Orlando are all well aware of

the existence of rampant sexual harassment at Fairfield, yet no reasonable effort has been made

to remedy the problem.

       206.    The gender discrimination includes adhering to a policy and practice of restricting

the promotion and advancement opportunities of female employees so that they remain in the

lower classification and compensation levels. Fairfield, in effect, bars females from better and

higher positions which have traditionally been held by male employees. The systemic means of

accomplishing such gender stratification include, but are not limited to, Fairfield’s promotion,

advancement, training, and compensation policies, practices, and/or procedures.

       207.    Fairfield’s promotion, advancement, training, and compensation policies,

practices, and/or procedures incorporate the following discriminatory practices: (a) sexually

harassing female employees by demanding sexual favors from them in exchange for professional

advancement opportunities; (b) refusing or failing to establish and/or follow policies, practices,

procedures, or criteria that reduce or eliminate disparate impact and/or intentional gender bias

and sexual harassment; (c) subjecting females to gender hostility in the work environment; (d)

relying upon subjective judgments, procedures, and criteria which permit and encourage the

incorporation of gender stereotypes and bias by Fairfield’s predominately male-managerial and




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supervisory staff in making promotion, training, and compensation decisions; (e) refusing or

failing to provide equal training opportunities to females; (f) refusing or failing to provide

females with equal opportunities to demonstrate their skills and qualifications for advancement,

including routinely assigning them less profitable work than male employees; (g) using informal,

subjective selection methods which allow for rampant gender discrimination; and (h)

discouraging applications and expressions of interest in career opportunities by females.

       208.    Fairfield’s promotion policies, practices, and/or procedures have had a disparate

impact on the Class Representatives and Class members. Such procedures are not valid, job-

related, or justified by business necessity. There are alternative, objective, and more valid

selection procedures available to Fairfield that are more closely related to the actual

responsibilities of the positions and that would have less of a disparate impact on females.

However, Fairfield has failed or refused to use such alternative procedures.

       209.    Fairfield’s promotion, advancement, training, and compensation policies,

practices, and/or procedures are intended to have disparate impact on the Class Representatives

and the Class they seek to represent. Such practices form a part of Fairfield’s overall pattern and

practice of keeping females in the lower classifications which have less desirable terms and

conditions of employment.

       210.    In addition, Fairfield condones sexual harassment by failing to provide adequate

training on the issues of sexual harassment and gender hostility.         Fairfield’s policies and

procedures also condone sexual harassment and/or allow for sexual harassment by not

adequately preventing it. Those policies and procedures prohibiting sexual harassment and

gender hostility that do exist are subjectively and inconsistently interpreted and applied, and thus

have lost their intended impact.




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       211.    Fairfield’s policies, practices, and/or procedures concerning sexual harassment,

gender hostility, and other Human Resources issues are intended to have a disparate impact on

the Class Representatives and Class members. These practices contribute to an overarching

pattern and practices of creating a hostile work environment based on gender in which female

employees are denied equality in terms and conditions of employment.

       212.    Because of Fairfield’s systemic pattern and practice of sexual harassment and

gender discrimination, the Class Representatives and Class members have been adversely

affected and have experienced harm, including the loss of compensation, wages, back pay and

employment benefits. This pattern and practice of sexual harassment and gender discrimination

includes: being subjected to rampant sexual harassment by male managers and employees on a

regular basis; being subjected to a sexually hostile work environment; being denied promotions

in favor of equally or less qualified male employees; being denied training opportunities

provided to male employees; receiving less profitable work assignments than male employees;

being disciplined more frequently and more severely than male employees, as well as being

disciplined for engaging in behaviors for which male employees are not disciplined.

       213.    The Class Representatives and Class members have been subjected to gender

hostility at work, both severe and pervasive, which affects the terms and conditions of their

employment. Fairfield’s actions and inactions allow and/or encourage this behavior by its male

employees.

       214.    The Plaintiffs have no plain, adequate, or complete remedy at law to redress the

rampant and pervasive wrongs alleged herein, and this suit is their only means of securing

adequate relief. The Plaintiffs are now suffering, and will continue to suffer, irreparable injury




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from Fairfield’s unlawful policies, practices, and/or procedures as set forth herein unless those

policies, practices and/or procedures are enjoined by this Court.

                     Counts for Class Representatives and Class Members

                                             COUNT I

                   VIOLATION OF TITLE VII, 42 U.S.C. §§ 2000e et seq.
                             SEXUAL HARASSMENT

       215.    Class Representatives re-allege and incorporate by reference each and every

allegation contained in each and every aforementioned paragraph as though fully set forth herein.

       216.    The Defendants discriminated against Plaintiffs by permitting an ongoing

pervasive pattern and practice of sexual harassment and by maintaining a sexually hostile work

environment in violation of Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e et seq.,

as amended (“Title VII”).

       217.    Defendants’ conduct was intentional, deliberate, willful, malicious, reckless, and

conducted in callous disregard of the rights of Class Representatives.

       218.    Such conduct directly and proximately caused Class Representatives to be

damaged and to suffer damages, economic losses, mental and emotional harm, anguish and

humiliation.

       219.    By reason of the continuous nature of Defendants’ discriminatory conduct,

persistent throughout the employment of Class Representatives, Class Representatives are

entitled to application of the continuing violation doctrine to all of the violations alleged herein.

       220.    By reason of the sexual harassment suffered as a result of Defendants’ conduct,

Class Representatives are entitled to all legal and equitable remedies available under Title VII,

including but not limited to punitive damages.




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                                             COUNT II

                   VIOLATION OF TITLE VII, 42 U.S.C. §§ 2000e et seq.
                           GENDER DISCRIMINATION

       221.    Class Representatives re-allege and incorporate by reference each and every

allegation contained in each and every aforementioned paragraph as though fully set forth herein.

       222.    The Defendants discriminated against Class Representatives by treating them

differently from and less preferably than similarly-situated male employees and subjecting them

to discriminatory denials of promotions, discriminatory compensation policies, differential

treatment, disparate terms and conditions of employment, hostile work environments and/or

other forms of discrimination in violation of Title VII.

       223.    Defendants’ conduct was intentional, deliberate, willful, malicious, reckless, and

conducted in callous disregard of the rights of Class Representatives.

       224.    Such conduct directly and proximately caused Class Representatives to be

damaged and to suffer economic losses, mental and emotional harm, anguish and humiliation.

       225.    Defendants’ policies and practices have produced a disparate impact against Class

Representatives with respect to the terms and conditions of employment.

       226.    By reason of the continuous nature of Defendants’ discriminatory conduct,

persistent throughout the employment of Class Representatives, Class Representatives are

entitled to application of the continuing violating doctrine to all of the violations alleged herein.

       227.    By reason of the gender discrimination suffered as a result of Defendants’

conduct, Class Representatives are entitled to all legal and equitable remedies available under

Title VII, including but not limited to punitive damages.




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                                          COUNT III

                              VIOLATIONS OF NEVADA LAW
                                 NEV. REV. STAT. 613.330
                                GENDER DISCRIMINATION
                           (AGAINST CORPORATE DEFENDANTS)

       228.   Class Representatives re-allege and incorporate by reference each and every

allegation contained in each and every aforementioned paragraph as though fully set forth herein.

       229.   Corporate Defendants have violated Nevada law by treating Class Representatives

and Class members less preferably than similarly situated males and by subjecting women to

discriminatory denials of promotion, discriminatory compensation policies, differential

treatment, disparate terms and conditions of employment, hostile work environment, and/or other

forms of discrimination.

       230.   Fairfield’s conduct has been intentional, deliberate, willful, malicious, reckless,

and conducted in callous disregard for the rights of the Class Representatives and Class

members.

       231.   Such conduct directly and proximately caused Class Representatives and the

Class members to suffer emotional distress and lost earning potential for which each claims

compensatory and punitive damages from Fairfield.

       232.   Class representatives and Class members are entitled to all legal and equitable

remedies available under Nevada law.




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                                             COUNT IV

                             VIOLATIONS OF NEVADA LAW
                                NEV. REV. STAT. 613.330
                                SEXUAL HARASSMENT
                          (AGAINST CORPORATE DEFENDANTS)

       233.    Class Representatives re-allege and incorporate by reference each and every

allegation contained in each and every aforementioned paragraph as though fully set forth herein.

       234.    Corporate Defendants have discriminated against Class Representatives by

permitting an ongoing, pervasive pattern and practice of sexual harassment by maintaining a

sexually hostile work environment, in violation of the laws of the State of Nevada.

       235.    Fairfield’s conduct has been intentional, deliberate, willful, malicious, reckless,

and conducted in callous disregard of the rights of the Class Representatives and the Class

members.

       236.    Such conduct directly and proximately caused the Class Representatives and

Class members to be damaged and to suffer damages, economic losses, mental and emotional

harm, anguish, and humiliation.

       237.    By reason of the continuous nature of Fairfield’s discriminatory conduct,

persistent throughout the employment of the Class Representatives and Class members, the Class

Representatives and Class members are entitled to application of the continuing violation

doctrine to all of the violations alleged herein.

       238.    By reason of the sexual harassment suffered at Fairfield, the Class

Representatives and the Class members are entitled to all legal and equitable remedies available

under Nevada law.




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                                           COUNT V

                   VIOLATIONS OF NEVADA LAW
                      NEV. REV. STAT. 200.471
                            ASSAULT
     (AGAINST GREG LIDDLE, MARK VAN SYDNER, KURT PEEZ, KEN GRAY,
PAUL HERMAN, TROY FUBLER, RICHARD ESCOVEDO, KEN ALEXANDER, ART
                 LOFTIN, AND DON WOOLBRIGHT)

       239.    Class Representatives re-allege and incorporate by reference each and every

allegation contained in each and every aforementioned paragraph as though fully set forth herein.

       240.    This claim arises under the laws of the State of Nevada to redress assault against

the Class Representatives and Class members, as well as Fairfield’s ratification of that conduct.

       241.    Employees of Fairfield named as Defendants in this count intended to cause or

attempted to cause harmful, rude, unwanted, offensive touching or corporal injury on the Class

Representatives and Class members on several occasions.

       242.    The Individual Defendants named in this count caused Class Representatives and

Class members to reasonably apprehend a harmful, rude, unwanted, offensive touching or

corporal injury on several occasions.

       243.    These actions were intentional, deliberate, willful, malicious, reckless, and

conducted in callous disregard of Class Representatives and Class members.

       244.    The Individual Defendants named in this count knew or should have known of

their unlawful conduct.

       245.    Such conduct directly and proximately caused the Class Representatives and

Class members to suffer severe emotional distress for which each claims compensatory and

punitive damages from the Individual Defendants named in this count.




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                                          COUNT VI

                      VIOLATIONS OF NEVADA LAW
                          NEV. REV. STAT. 200.481
                                BATTERY
         (AGAINST GREG LIDDLE, MARK VAN SYDNER, AND KURT PEEZ)

       246.    Class Representatives re-allege and incorporate by reference each and every

allegation contained in each and every aforementioned paragraph as though fully set forth herein.

       247.    This claim arises under the laws of the State of Nevada to redress battery against

the Class Representatives and Class members and Fairfield’s ratification of that conduct.

       248.    Employees of Fairfield named as Defendants in this count subjected the Class

Representatives and Class members to intentional, unlawful, harmful, rude, unwanted, offensive,

and/or corporal contact or constraint without consent.

       249.    Such conduct directly and proximately caused the Class Representatives and

Class members to suffer severe emotional distress for which each claims compensatory and

punitive damages from the Individual Defendants named in this count.

                                          COUNT VII

                        VIOLATIONS OF NEVADA LAW
               INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                         (AGAINST ALL DEFENDANTS)

       250.    Class Representatives re-allege and incorporate by reference each and every

allegation contained in each and every aforementioned paragraph as though fully set forth herein.

       251.    This claim arises under the laws of the State of Nevada to redress intentional and

reckless infliction of emotional distress violations by all Defendants upon the Class

Representatives and Class members, and Fairfield’s ratification of that conduct.

       252.    All Defendants intentionally or recklessly inflicted emotional distress upon Class

Representatives and Class members.



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       253.    The conduct of Defendants was so extreme and outrageous that it clearly

exceeded the bounds of decency, making this behavior intolerable in civilized society.

       254.    This intentional or reckless infliction of emotional distress resulted in severe

mental injuries to Class Representatives and Class members.

       255.    Such conduct directly and proximately caused the Class Representatives and

Class members to suffer humiliation, embarrassment, degradation, shock, outrage, and serious

emotional distress for which each claims compensatory and punitive damages from Defendants.

                                          COUNT VIII

                    VIOLATIONS OF NEVADA LAW
   NEGLIGENT AND/OR WANTON SUPERVISION, TRAINING, AND RETENTION
  (AGAINST CORPORATE DEFENDANTS AND STEVE COEN, KEN ALEXANDER,
           WALTER LAXON, MASON GANGEL, AND DEVON BOYD)

       256.    Class Representatives re-allege and incorporate by reference each and every

allegation in each and every aforementioned paragraph as though fully set forth herein.

       257.    This claim arises under the laws of the State of Nevada to redress the negligent

and/or wanton supervision, training, and retention of male employees and managers by

Defendants.

       258.    The Corporate Defendants and the Individual Defendants named in this count

negligently and/or wantonly failed to adequately supervise, train, and/or retain male employees

and managers, which directly and proximately caused the sexual harassment of, and retention

against, the Class Representatives and Class members.

       259.    The Corporate Defendants and the individual defendants named in this count took

insufficient action, if any, to stop the harassing and/or discriminatory conduct of its employees.




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       260.    Such conduct directly and proximately caused the Class Representatives and

Class members to suffer severe emotional distress for which each claims compensatory and

punitive damages from these Defendants.

                                           COUNT IX

                    VIOLATIONS OF NEVADA LAW
                NEGLIGENT AND/OR WANTON HIRING
  (AGAINST CORPORATE DEFENDANTS AND STEVE COEN, KEN ALEXANDER,
           WALTER LAXON, MASON GANGEL, AND DEVON BOYD)

       261.    Class Representatives re-allege and incorporate by reference each and every

allegation in each and every aforementioned paragraph as though fully set forth herein.

       262.    This claim arises under the laws of the State of Nevada to redress the negligent

and/or wanton hiring of male employees and managers by Fairfield.

       263.    Upon information and belief, there is evidence that various employees of

Defendant were unfit for particular jobs in which they were employed.

       264.    Upon information and belief, there is evidence certain applicants for employment

by Fairfield, if hired, would pose an unreasonable risk to others.

       265.    Such conduct directly and proximately caused the Class Representatives and

Class members to suffer severe emotional distress for which each claims compensatory and

punitive damages from the Defendants named in this count.

                              Individual Count for Lynda Kalemis

                                            COUNT X

                              VIOLATIONS OF TITLE VII
                                   RETALIATION
                         (AGAINST CORPORATE DEFENDANTS)

       266.    Kalemis re-alleges and incorporates by reference each and every allegation

contained in each and every aforementioned paragraph as though fully set forth herein.



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       267.   Fairfield has retaliated against Kalemis because she insisted upon a work

environment free of sexual harassment and gender discrimination and also because she

complained about sexual harassment and discrimination.

       268.   Fairfield has also retaliated against Kalemis because she filed a Charge of

Discrimination with the Nevada Equal Rights Commission.

       269.   Fairfield has retaliated against Kalemis by subjecting her to adverse employment

actions, including but not limited to, denying her promotions for which she was qualified,

terminating her employment, and subjecting her to disparate terms and conditions of

employment and/or other forms of discrimination in violation of federal law.

       270.   Fairfield’s actions were intentional, deliberate, willful, malicious, reckless, and

conducted in callous disregard of causing harm to Kalemis, and she is therefore entitled to

punitive damages.

       271.   Such conduct directly and proximately caused Kalemis to suffer emotional

distress for which she claims compensatory and punitive damages from Fairfield.

       272.   By reason of the retaliation suffered at Fairfield, Kalemis is entitled to all legal

and equitable remedies available under federal law.

                             Individual Count for Rhodalyn Villa

                                          COUNT XI

                             VIOLATIONS OF TITLE VII
                                  RETALIATION
                        (AGAINST CORPORATE DEFENDANTS)

       273.   Villa re-alleges and incorporates by reference each and every allegation contained

in each and every aforementioned paragraph as though fully set forth herein.




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       274.    Fairfield has retaliated against Villa because she insisted upon a work

environment free of sexual harassment and gender discrimination and also because she

complained about sexual harassment and discrimination.

       275.    Fairfield has retaliated against Villa by subjecting her to adverse employment

actions, including but not limited to, denying her promotions for which she was qualified and

subjecting her to disparate terms and conditions of employment and/or other forms of

discrimination in violation of federal law.

       276.    Fairfield’s actions were intentional, deliberate, willful, malicious, reckless, and

conducted in callous disregard of causing harm to Villa, and she is therefore entitled to punitive

damages.

       277.    Such conduct directly and proximately caused Villa to suffer emotional distress

for which she claims compensatory and punitive damages from Fairfield.

       278.    By reason of the retaliation suffered at Fairfield, Villa is entitled to all legal and

equitable remedies available under federal law.

                               Individual Count for Rania Dante

                                              COUNT XII

                              VIOLATIONS OF TITLE VII
                                   RETALIATION
                         (AGAINST CORPORATE DEFENDANTS)

       279.    Dante re-alleges and incorporates by reference each and every allegation

contained in each and every aforementioned paragraph as though fully set forth herein.

       280.    Fairfield has retaliated against Dante because she insisted upon a work

environment free of sexual harassment and gender discrimination and also because she

complained about sexual harassment and discrimination.




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       281.    Fairfield has retaliated against Dante by subjecting her to adverse employment

actions, including but not limited to, denying Dante promotions for which she was qualified and

subjecting her to disparate terms and conditions of employment and/or other forms of

discrimination in violation of federal law.

       282.    Fairfield’s actions were intentional, deliberate, willful, malicious, reckless, and

conducted in callous disregard of causing harm to Dante, and she is therefore entitled to punitive

damages.

       283.    Such conduct directly and proximately caused Dante to suffer emotional distress

for which she claims compensatory and punitive damages from Fairfield.

       284.    By reason of the retaliation suffered at Fairfield, Dante is entitled to all legal and

equitable remedies available under federal law.

                              Individual Count for Sabra Laursen

                                          COUNT XIII

                        VIOLATIONS OF NEVADA LAW
                           NEV. REV. STAT. 613.335
              REFUSAL TO GRANT LEAVE TO PREGNANT EMPLOYEES
                     (AGAINST CORPORATE DEFENDANTS)

       285.    Laursen re-alleges and incorporates by reference each and every allegation

contained in each and every aforementioned paragraph as though fully set forth herein.

       286.    This claim arises under the laws of the State of Nevada to redress the

discrimination Laursen faced based on her pregnancy, particularly at the hands of Senior

Manager Dean Owens and Senior Vice President Steve Coen.

       287.    Nevada law holds that if an employer grants leave without loss of seniority to his

employees for sickness or disability because of a medical condition, it is an unlawful




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employment practice to fail or refuse to extend the same benefits to any female employee who is

pregnant.

       288.    Fairfield treated pregnant women less favorably because males were allowed to

take liberal time off without question, while Laursen was refused time off work before and after

her miscarriage.

       289.    Such conduct directly and proximately caused Laursen to suffer severe emotional

distress for which she claims compensatory and punitive damages from Fairfield.

                             Individual Count for Doreet Hakman

                                          COUNT XIV

                              VIOLATIONS OF TITLE VII
                                   RETALIATION
                         (AGAINST CORPORATE DEFENDANTS)

       290.    Hakman re-alleges and incorporates by reference each and every allegation

contained in each and every aforementioned paragraph as though fully set forth herein.

       291.    Fairfield has retaliated against Hakman because she insisted upon a work

environment free of gender discrimination and also because she complained about

discrimination.

       292.    Fairfield has retaliated against Hakman by subjecting her to adverse employment

actions, including but not limited to, denying Hakman promotions for which she was qualified

and subjecting her to disparate terms and conditions of employment and/or other forms of

discrimination in violation of federal law.

       293.    Fairfield’s actions were intentional, deliberate, willful, malicious, reckless, and

conducted in callous disregard of causing harm to Hakman, and she is therefore entitled to

punitive damages.




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         294.    Such conduct directly and proximately caused Hakman to suffer emotional

distress for which she claims compensatory and punitive damages from Fairfield.

         295.    By reason of the retaliation suffered at Fairfield, Hakman is entitled to all legal

and equitable remedies available under federal law.

                               Individual Count for Adero Fleming

                                            COUNT XV

                VIOLATIONS OF THE FAMILY AND MEDICAL LEAVE ACT
                            WRONGFUL TERMINATION
                       (AGAINST CORPORATE DEFENDANTS)

         296.    Fleming re-alleges and incorporates by reference each and every allegation in

each and every aforementioned paragraph as though fully set forth herein.

         297.    Defendants’ wrongful termination of Fleming’s employment while she was on

leave under the Family Medical Leave Act as herein alleged violated the Family and Medical

Leave Act, 28 U.S.C. § 2601 et seq.

         298.    As a proximate result of Defendants’ wrongful conduct, Fleming has suffered and

continues to suffer loss of earnings, benefits and compensation and have suffered and continue to

suffer mental and emotional distress and harm, anguish and humiliation.

         299.    Defendants, in doing the acts and failing to do the acts as herein alleged, acted

maliciously, oppressively, with the wrongful intent to injure Fleming, and in conscious disregard

of Fleming’s rights. Fleming is thus entitled to recover damages from Defendants according to

proof.

PRAYER FOR RELIEF FOR CLASS REPRESENTATIVES AND CLASS MEMBERS

         WHEREFORE, Class Representatives, on behalf of themselves and Class members, pray

that this Court:




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      a.      Certify the case as a Class action maintainable under Federal Rules of

      Civil Procedure 23(a), (b)(2), and/or (b)(3) and Nevada Rules of Civil Procedure

      23(a), (b)(2) and/or (b)(3), on behalf of the proposed Plaintiff Class, and

      designation of the Plaintiffs as representatives of this Class and their counsel of

      record as Class counsel;

      b.      Issue a permanent injunction against Fairfield and its partners, officers,

      trustees,   owners,    employees,     agents,    attorneys,   successors,    assigns,

      representatives, and any and all persons acting in concert with them from

      engaging in any conduct violating the rights of the Class Representatives, Class

      members, and those similarly situated as secured by Title VII, Nev. Rev. Stat.

      613.330 and order such injunctive relief as will prevent Fairfield from continuing

      their discriminatory practices and protect others similarly situated;

      c.      Issue a permanent injunction against Fairfield and its partners, officers,

      trustees,   owners,    employees,     agents,    attorneys,   successors,    assigns,

      representatives, and any and all persons acting in concert with them from

      engaging in any further unlawful practices, policies, customs, usages, sexual

      harassment, gender discrimination, or retaliation by Fairfield as set forth herein;

      d.      Declare and adjudge that Fairfield’s employment policies, practices,

      and/or procedures challenged herein are illegal and in violation of the laws of the

      State of Nevada;

      e.      Order Fairfield to initiate and implement programs that (i) will provide

      equal employment opportunities for female employees; (ii) will grant zero

      tolerance to any male employees who sexually harass female employees and/or




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      create gender hostility in the workplace; (iii) will remedy the effects of Fairfield’s

      past and present unlawful employment policies, practices and/or procedures; (iv)

      will eliminate the continuing effects of the discriminatory and retaliatory practices

      described above;

      f.     Order Fairfield to initiate and implement systems of assigning, training,

      transferring, compensating, and promoting female employees in a non-

      discriminatory manner;

      g.     Order Fairfield to establish a task force on equality and fairness to

      determine the effectiveness of the programs described above, which would

      provide for (i) monitoring, reporting, and retaining of jurisdiction to ensure equal

      employment opportunity, (ii) the assurance that injunctive relief is properly

      implemented, and (iii) a quarterly report setting forth information relevant to the

      determination of the effectiveness of the programs described above;

      h.     Order Fairfield to adjust the wage rates and benefits for the Class

      Representatives and the Class members to the level that they would be enjoying

      but for Fairfield’s discriminatory policies, practices, and/or procedures;

      i.     Order Fairfield to place or restore the Class Representatives and the Class

      members into those jobs they would now be occupying, but for Fairfield’s

      discriminatory policies, practices and/or procedures;

      j.     Order that this court retain jurisdiction of this action until such time as the

      Court is satisfied that Fairfield has remedied the practices complained of herein

      and is determined to be in full compliance with the law;




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          k.        Award nominal, compensatory, and punitive damages to the Class

          Representatives and Class members;

          l.        Award litigation costs and expenses, including but not limited to,

          reasonable attorneys’ fees, to the Class Representatives and Class members;

          m.        Award back pay, front pay, lost benefits, preferential rights to jobs and

          other damages for lost compensation and job benefits with pre-judgment and post-

          judgment interest suffered by the Class Representatives and Class members to be

          determined at trial;

          n.        Order Fairfield to make whole the Class Representatives and Class

          members by providing them with appropriate lost earnings, and other affirmative

          relief;

          o.        Award any other appropriate equitable relief to the Class Representatives

          and proposed Class members; and

          p.        Award any additional and further relief as this court may deem just and

          proper.

PRAYER FOR RELIEF FOR INDIVIDUAL LYNDA KALEMIS

    WHEREFORE, Lynda Kalemis prays that this Court:

          a.        Issue a permanent injunction against Fairfield and its partners, officers,

          trustees,    owners,    employees,     agents,   attorneys,   successors,   assigns,

          representatives, and any and all persons acting in concert with them from

          engaging in any further unlawful practices, policies, customs, usages, and any

          conduct violating Kalemis’s rights or the rights of others similarly situated as

          secured by Nevada law, and order such injunctive relief as will prevent Fairfield




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          from continuing its discriminatory and retaliatory practices and protect others

          similarly situated;

          b.      Declare and adjudge that Fairfield has violated Kalemis’ rights under Title

          VII;

          c.      Award Kalemis nominal damages;

          d.      Award Kalemis compensatory damages;

          e.      Award Kalemis punitive damages;

          f.      Award back pay, front pay, lost benefits, preferential rights to jobs and

          other damages for lost compensation and job benefits with pre-judgment and post-

          judgment interest suffered by Kalemis to be determined at trial;

          g.      Order Defendants to make Kalemis whole by providing her with

          appropriate past and future lost earnings and benefits, with the pre-judgment and

          post-judgment interest, and other affirmative relief;

          h.      Award Kalemis the costs and expenses of this action, including, but not

          limited to, reasonable attorneys’ fees and expenses; and

          i.      Award Kalemis any such additional and further relief as this Court deems

          is just and proper.

PRAYER FOR RELIEF FOR INDIVIDUAL RHODALYN VILLA

    WHEREFORE, Rhodalyn Villa prays that this Court:

          a.      Issue a permanent injunction against Fairfield and its partners, officers,

          trustees,   owners,    employees,     agents,   attorneys,   successors,   assigns,

          representatives, and any and all persons acting in concert with them from

          engaging in any further unlawful practices, policies, customs, usages, and any




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          conduct violating Villa’s rights or the rights of others similarly situated as secured

          by Nevada law, and order such injunctive relief as will prevent Fairfield from

          continuing its discriminatory and retaliatory practices and protect others similarly

          situated;

          b.      Declare and adjudge that Fairfield has violated Villa’s rights under Title

          VII;

          c.      Award Villa nominal damages;

          d.      Award Villa compensatory damages;

          e.      Award Villa punitive damages;

          f.      Award back pay, front pay, lost benefits, preferential rights to jobs and

          other damages for lost compensation and job benefits with pre-judgment and post-

          judgment interest suffered by Villa to be determined at trial;

          g.      Order Defendants to make Villa whole by providing her with appropriate

          past and future lost earnings and benefits, with the pre-judgment and post-

          judgment interest, and other affirmative relief;

          h.      Award Villa the costs and expenses of this action, including, but not

          limited to, reasonable attorneys’ fees and expenses; and

          i.      Award Villa any such additional and further relief as this Court deems is

          just and proper.

PRAYER FOR RELIEF FOR INDIVIDUAL RANIA DANTE

    WHEREFORE, Rania Dante prays that this Court:

          a.      Issue a permanent injunction against Fairfield and its partners, officers,

          trustees,   owners,    employees,     agents,      attorneys,    successors,   assigns,




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          representatives, and any and all persons acting in concert with them from

          engaging in any further unlawful practices, policies, customs, usages, and any

          conduct violating Dante’s rights or the rights of others similarly situated as

          secured by Nevada law, and order such injunctive relief as will prevent Fairfield

          from continuing its discriminatory and retaliatory practices and protect others

          similarly situated;

          b.     Declare and adjudge that Fairfield has violated Dante’s rights under Title

          VII;

          c.     Award Dante nominal damages;

          d.     Award Dante compensatory damages;

          e.     Award Dante punitive damages;

          f.     Award back pay, front pay, lost benefits, preferential rights to jobs and

          other damages for lost compensation and job benefits with pre-judgment and post-

          judgment interest suffered by Plaintiff to be determined at trial;

          g.     Order Defendants to make Dante whole by providing her with appropriate

          past and future lost earnings and benefits, with the pre-judgment and post-

          judgment interest, and other affirmative relief;

          h.     Award Dante the costs and expenses of this action, including, but not

          limited to, reasonable attorneys’ fees and expenses; and

          i.     Award Dante any such additional and further relief as this Court deems is

          just and proper.

PRAYER FOR RELIEF FOR INDIVIDUAL SABRA LAURSEN

    WHEREFORE, Sabra Laursen prays that this Court:




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      a.      Issue a permanent injunction against Fairfield and its partners, officers,

      trustees,   owners,    employees,     agents,   attorneys,   successors,   assigns,

      representatives, and any and all persons acting in concert with them from

      engaging in any further unlawful practices, policies, customs, usages, and any

      conduct violating Laursen’s rights or the rights of others similarly situated as

      secured by Nevada law, and order such injunctive relief as will prevent Fairfield

      from continuing its discriminatory and retaliatory practices and protect others

      similarly situated;

      b.      Declare and adjudge that Fairfield has violated Laursen’s rights under

      Title VII and Nev. Rev. Stat. 613.335;

      c.      Award Laursen nominal damages;

      d.      Award Laursen compensatory damages;

      e.      Award Laursen punitive damages;

      f.      Award back pay, front pay, lost benefits, preferential rights to jobs and

      other damages for lost compensation and job benefits with pre-judgment and post-

      judgment interest suffered by Laursen to be determined at trial;

      g.      Order Defendants to make Laursen whole by providing her with

      appropriate past and future lost earnings and benefits, with the pre-judgment and

      post-judgment interest, and other affirmative relief;

      h.      Award Laursen the costs and expenses of this action, including, but not

      limited to, reasonable attorneys’ fees and expenses; and

      i.      Award Laursen any such additional and further relief as this Court deems

      is just and proper.




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PRAYER FOR RELIEF FOR INDIVIDUAL DOREET HAKMAN

    WHEREFORE, Doreet Hakman prays that this Court:

          a.      Issue a permanent injunction against Fairfield and its partners, officers,

          trustees,    owners,   employees,     agents,    attorneys,   successors,   assigns,

          representatives, and any and all persons acting in concert with them from

          engaging in any further unlawful practices, policies, customs, usages, and any

          conduct violating Hakman’s rights or the rights of others similarly situated as

          secured by Nevada law, and order such injunctive relief as will prevent Fairfield

          from continuing its discriminatory and retaliatory practices and protect others

          similarly situated;

          b.      Declare and adjudge that Fairfield has violated Hakman’s rights under

          Title VII;

          c.      Award Hakman nominal damages;

          d.      Award Hakman compensatory damages;

          e.      Award Hakman punitive damages;

          f.      Award back pay, front pay, lost benefits, preferential rights to jobs and

          other damages for lost compensation and job benefits with pre-judgment and post-

          judgment interest suffered by Plaintiff to be determined at trial;

          g.      Order Defendants to make Hakman whole by providing her with

          appropriate past and future lost earnings and benefits, with the pre-judgment and

          post-judgment interest, and other affirmative relief;

          h.      Award Hakman the costs and expenses of this action, including, but not

          limited to, reasonable attorneys’ fees and expenses; and




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          i.      Award Hakman any such additional and further relief as this Court deems

          is just and proper.

PRAYER FOR RELIEF FOR INDIVIDUAL ADERO FLEMING

    WHEREFORE, Adero Fleming prays that this Court:

          a.      Issue a permanent injunction against Fairfield and its partners, officers,

          trustees,   owners,    employees,     agents,   attorneys,   successors,   assigns,

          representatives, and any and all persons acting in concert with them from

          engaging in any further unlawful practices, policies, customs, usages, and any

          conduct violating Fleming’s rights or the rights of others similarly situated as

          secured by federal law, and order such injunctive relief as will prevent Fairfield

          from continuing its discriminatory and retaliatory practices and protect others

          similarly situated;

          b.      Declare and adjudge that Fairfield has violated Fleming’s rights under the

          Family and Medical Leave Act;

          c.      Award Fleming nominal damages;

          d.      Award Fleming compensatory damages;

          e.      Award Fleming punitive damages;

          f.      Award back pay, front pay, lost benefits, preferential rights to jobs and

          other damages for lost compensation and job benefits with pre-judgment and post-

          judgment interest suffered by Fleming to be determined at trial;

          g.      Order Defendants to make Fleming whole by providing her with

          appropriate past and future lost earnings and benefits, with the pre-judgment and

          post-judgment interest, and other affirmative relief;




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              h.      Award Fleming the costs and expenses of this action, including, but not

              limited to, reasonable attorneys’ fees and expenses; and

              i.      Award Fleming any such additional and further relief as this Court deems

              is just and proper.

IX.    JURY DEMAND

          Plaintiffs hereby request a trial by jury on all issues.



Dated: February 21, 2008              Respectfully submitted,

                                      _/s/ Mary Chapman__________________
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